Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Page 1 of §§
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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

The case is set for trial before the ,|ury.

** THE TRIAL DATE CANNOT BE PASSED BY A RULE
11 AGREEMENT OF THE PARTIES. IT CAN ONLY BE
PASSED BY A JOINT CONTINUANCE OF ALL PARTIES
THAT IS APPROVED AND AN ORDER SIGNED BY
THE JUDGE.**

Deadline for Designation of Experts and TRCP 194.2 (f) information are pursuant to the
Texas Rules Of Civil Procedure.

Unless otherwise the subject of a Rule ll agreement

Any Daubert/Robinson motion, challenge or objection shall be filed no later than 8:30 a.m.
on October 15, 2015, the day of Final Pre-Trial.

At the commencement of trial, each party should present their proposed charge of the court
on computer disc, formatted on WordPerfect and/or Microsoft Word, to the court coordinator.

At the time of this order and by written agreement of the parties in compliance with T.R.C.P. l l, we
have no conflict in our schedules.

         

 

Signed this 9/25/2014 /j
L.. x \-d’
) /§;; ' /”;_3
Jlel;>ti'c:i.:\ Lopez, Presiding Judge
cc: Court's File l

Jesus Ramirez
email: jramirez@rg~legal.com

Stephanie O'Rourke
email: Sorourke @ cbylaw.com

David P. Benjamin
email: dbenj amin @ benlawsa.com

 

Case 7:15-c\/- -00465 Document 1- 12 Filed in TXSD on 11/06/15 PageZ o| ofg| d
rOn|Ca y le

9/11/2014 4: 30: 21 P|\/l
Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CAUSE NO. C-5 149-14-1-1

PHARR SAN JUAN ALAMO
INDEPENDENT_ SCHOOL DISTRICT
Plaintiff

lN THE DISTRICT COURT

vs.

HIDALGO COUNTY, TEXAS

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

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389th JUDICIAL DlsTRlcT

1`M PLAINTIFF, PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DI

 

CERTIFICAT-E OF WRITTEN DISCOVERY

I certify that on the llth day of September, 2014,1 served the following discovery
instruments on opposing counsel of record by via certified mail, return receipt requested, pursuant
to the Texas Rules of Civil Procedure:

1. Plaintiff Pharr San Juan Alamo Independent School District’s Request for Disclosure to
D`efendant Texas Descon, L. P.;

2. Plaintiff Pharr San Juan Alarno Independent School District’s Request for Disclosure to
Defendant Descon 4S, L L C.; and

3. Plaintiff Pharr San Juan Alamo Independent School Distn'ct’s Request for Disclosure to
Defendant ERO International, L. L. P. D/B/A ERO Architects.

Respectfully submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 78589

Phone‘. (956) 502-5424

Fax: (956) 502-5007

JF,SUS RAMIREZ
SBN 16501950
ROBERT SCHELL
SBN 24007992

ATTORNEYS' FOR DEFENDANT
PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

Plaintiff Pharr San Juan Independent School District’s Certif`rcate of Written Discovery Page l of 2

 

Case 7:15-cv-OO465 Document 1-12 Fl|ed in TXSD on 11/06/15 Page 3 01§4
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- 9/11/2014 4:30:21 PM
Hida|go County District Clerks
Reviewed By: C|audia Rodriguez

CERTIFICATE OF SERVICE

I, Robert Schell, certify that on the llth day of September, 2014, a true and correct copy of
the foregoing Plaintiff Pharr San Juan Alamo lndependent School District’S Certificate of Written
Discovery was served via certified U.S. Mail, return receipt requested on the following counsel of
record:

Via Cert£[ced Mai{,

Return Recegg' ¢Regues!ed No. 701 3 3020 0001 1808 4952
and Emaf£: dben `amin al enlawsa. com

David P. Benj amin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP

2161 NW Military Highway, Suite 111

San Antonio, Texas 78213

Via Certit'ied Ma`ll,

Return Receigt Reguested No. 70]3 30§0 0001 1808 4969
and Email: sorourke@cbvl_a_w.cug

Stephanie O’Rourke

COKINOS, BOSIEN & YOUNG

10999 IH-lO West, Suite 800

San Antonio, Texas 78230

lamb

ROBERT SCHELL

Plaintiff Pharr San Juan lndependent School Dlstrict’s Certif‘icate of Written Di'scovery Page 2 of 2

Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Pa%e 4 01%4
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Hida|go County District C|erks

CAUSE NO. C~5149'14-H Reviewed By: C|audia Rodriguez
PHARR - SAN JUAN - ALAMO § IN THE 389TH DISTRICT COURT
INDEPENDENT SCHOOL DISTRICT §
§
VS. § OF
§
TEXAS DESCON, L.P., DESCON 4S, § HlDALGO COUNTY, TEXAS

L.L.C. AND ERO INTERNATIONAL,
L.L.P. DBA ERO ARCHITECTS

ORDER SETTING
TELEPHONIC DOCKET CONTROL CONFERENCE

On this the M day of Suplu.ml)er, 2014l came to be considered the above entitled and referenced matter.
lt is ordered by the Court that a Telenhonic Docket Control Conference is hereby Set for the 23rd day
of Sel)temhel" Z{ll\'i1 at 3:0{| 11.111. Conf`ereoce call shall be initiated bv Plaintiff and have all parties on line

before calling court. lf no one calls in for the Docket Control Conference, the Court will schedule the case for trial

v ( j

as per the Court's availability.

sIGNED this 9/4/2014

/

/`] /(yc:`l C/Q/é;_ (T.<:J.U

LETTY LOPEZ
Judge Presiding
389th District Court

cc: Jesus Ramirez
email: jramirez@rg-legal.com

Stephanie O'Rourke
email: sorourke @ cbylaw .com

David P. Benjamin
email: dbenja_min@benlawsa.com

 

Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Page 5 of 94

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Hida|go County District C|erks
Reviewed By: Yesica Garza

CAUSE NO. C-5149-14-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaintijj"

IN THE DISTRICT COURT

vs.

HIDALGO COUNTY, TEXAS

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

@@@@Cm¢m@@m@€m

389th JUDICIAL DrsrchT

 

TTEN DISCOVERY

l certify that on the 14th day of August, 2014, I served the following discovery instruments
on opposing counsels of record by via certified mail, return receipt requested, pursuant to the Texas
Rules of Civil Procedure:

Via Certij`ied Maill

Retgg Receipt Requestec! No. 7013 3020 000.1 1808 4846
And Email: sorourke@cbylaw.com

Stephanie O’Rourke

COKINOS, BOSIEN & YOUNG

10999 IH-10 West, Suite 800

San Antonio, Texas 78230

Via Certif¢ed Mail,
Return Receg'pt Requested Na. 7013 3 026 0001 1808 4853

And Email: dben amin enlawsa.com

David P. Benj amin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP
2161 NW Military Highway, Suite lll

San Antonio, Texas 78213

 

Plaintiffth San Juan Alarno Independent School District’s Certificate of Written Discovery Page l of 3

 

Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Pa%e 6 of <.?:4
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8/14/2014 3:56:58 P|\/|
Hida|go County District C|erks
Reviewed By: Yesica Garza

Respectfiilly submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 78589

Phone: (956) 502-5424

Fax: (956) 502-5007

By: W/d/C/`

JESUS RAMIREZ

SBN l 6501 95 0

ROBERT SCI-IELL

SBN 24007992'
ATTORNEYS FOR PLAINTIFF
PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

Plaintiff Pharr San Juan Alamo Independent School District’s Certiticate of Written Discovery Page 2 of 3

 

Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Page 7. of %4
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Hida|go County District Cierks
Reviewed By: Yesica Garza

CERTIFICATE OF SERVICE

I, Robert Schell, certify that on the 14th day of August, 2014, a true and correct copy of the
foregoing Plaintiff Pharr San Juan Alamo lndependent School District’s Certificate of Written
Discovery was served via certified U,S. Mail, return receipt requested on the following counsels of
record:

away

ROBERT SCHELL

 

Plaintiff Pharr San Juan Alamo Independent School District’s Certificate of Written Discovery Page 3 of 3

 

Case 7:15-c\/- -00465 Document 1- 12 Filed in TXSD on 11/06/15 Paegte$ on %4 d
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Hidalgo County District C|erks
Reviewed By: Yesica Garza

CAUSE NO. C-5149-l4-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaintijj‘

IN THE DISTRICT COURT

vs.

HIDALGO COUNTY, TEXAS

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Dej%ndants

WJWDW>W>@WJW§@@W>@

339th Jur)iclAL Dlsriucr

4 PL_AINTIFF, PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT’S
CERTIFICATE OF WRITTEN DISCOVERY

 

I certify that on the 14th day of August, 2014, I served the following discovery
instruments on opposing counsels of record by via certified mail, return receipt requested, pursuant
to the Texas Rules of Civil Procedure:

1. PLAINTIFF’S RESPONSES 'I`O DEFENDANT’S ,INTERROGATORIES AND
REQUEST FOR PRODUCTION TO PLAINTIFF; and

2. PLAINTIFF’S RESPONSES TO REQUEST FOR DISCLOSURE FROM
DEFENDANT ERO INTERNATIONAL, LLP, d/b/a ERO ARCHITECTS

Respectfully submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 78589

Phone: (956) 502-5424

Fax: (956) 502-5007

By: " W M

JEsUs RAMIREZ

sBN 16501950

RoBERT sCHELL

sBN 24007992
ATToRNEYs FoR PLAINTIFF
PHARR sAN JUAN ALAMo
1NDEPENDENT scHooL DisrRlcr

Plaintiff Pharr San Juan Alamo Independent School District’s Certificate of Written Discovery Page l of 2

 

Case 7:15-cv-OO465 Document 1-12 Filed m TXSD on 11/06/15 Page 9_ of 94
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8/13/2014 4:51:05 PM
Hidalgo County District C|erks
Reviewed By: Yesica Garza

CERTIFICATE OF SERVICE

I, Robert Schell, certify that on the 14th day of August, 2014, a true and correct
copy of the foregoing Plaintiff Pharr San Juan Alamo Independent School District’s Certificate of
Written Discovery was served via certified U.S. Mail, return receipt requested on the following
counsels of record:

Via Cer!i[ted Maif,
Return Receig! Requested No. 7013 3020 0001 1808 385 6

Ana' Emai!: dben{°amiu@£en!awsa.com
David P. Benjamin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP
2161 NW Military Highway, Suite 1 ll
San Antonio, Texas 78213

Via Certificd Maill

Returo Receipt Reg uesi:ed Na. 7013 3020 0001 1808 3863

And Email: sorourke§:ilcbylaw.com
Stephanie O’Rourke

COKINOS, BOSIEN & YOUNG
10999IH-10 West, Suite 800
San Antonio, Texas 78230

W/W

ROBERT SCHELL

 

Plaintiff Pharr San Juan Alamo Independent School District’s Certificate of Written Discovery Page 2 of 2

Case 7:15-cv-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 10 194
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Hidalgo County District C|erks
Reviewed By: Yesica Garza

THE ]. RAMIREZ LAW FIRM

Attorneys at Law
Ebony Paritl Suite B
700 N. Veterar'-B Boulevard
San Juanl Texas 78589
Phone: (956) 502-5424 Fax: (956) 502-5007
erter’s e-ma|l address: rschsll@rg-\egal.com

August 8, 2014

Via Email: SOl{ourl-:e{a}cby.cmn
Ms. Stephanie O’Rourke

10999 ]H-IO West, Suite 800
San Antonio, Texas 78230

Re: Cause No. C-5149-14-H; Pharr San Juan Alamo Independent School District v.
Texa.s' Descon, L.P. Descon 4S, L.L.C. and ERO lnternational, L.L.P. d/b/a ERO
Archr'rects, in the 389Lh Judicial District Couit, Hidalgo Connty, Texas

Dear Ms. O’Rourke:

Pursuant to Rule ll of the Texas Rules of Civil Procedure, this letter is to confirm that an
agreement has been reached today to extend Plaintiff Pharr San Juan Alamo I.S.D.’s deadline to
respond to Defendant Descon 4S, I,LC’s Request for Disclosure to Plaintiff and Defcndant '1` ean
Descon, L.P.’s Request for Disclosure to Plaintiff 'l`he deadline will be extended to Thursday,
August 14, 2014.

If this accurately reflects the agreement, please affix your signature below and return to

me so that l may file this Rule ll Agreernent with the Court.

Sincerely,

ROBERT SCHELL

Date: l '" "/

1 v _
Attomey; 5, 0 /<OL\u'/LL.Q_, SUN,J£? PQVM|S}`,OH)

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Case 7:15-cv-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 11 of 94

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CAUSE NO. C-5149-14-H

PHARR SAN JUAN ALAMO lN THE DISTRICT COURT

INDEPENDENT SCHOOL DISTRICT
Plaintij]"

VS. 389TH JUDICIAL DISTRICT

TEXAS DESCON, L.P., DESCON 4S,
L.L.C. and ERO INTERNATIONAL, L.L.P.
D/BA ERO ARCHITECTS

Plaintijj”

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HIDALGO COUNTY, TEXAS
DEFENDANT’S Ol{IGINAL ANSWER AND SPEC]AL EXCEP'.[`IONS

TO THE HONORABLE JUDGE OF SAID COURT:

Now comes ERO International, L.L.P. d/b/a ERO Architects (“ERO”), a Defendant in the
above-styled and numbered cause, and files this Original Answer to Plaintiff’s Original Petition

and Special Exceptions, and would respectfully show unto the Court the following:

lI. ANSWER
a. Defendant denies each and every allegation made by Plaintiff and demands strict
proof of such allegations
b. Defendant specifically asserts that section of 1.3.7.4 within the contract executed

on or about December 18, 2008, provided a waiver of damages provision in its contract Under

such provision, Plaintiff waived any right of recovery to the extent it had insurance applicable to

the alleged damages.

c. Defendant denies that Plaintiff has complied with the requirements of Tex, Civ.
Prac. Rem. Code §38.002(2) in that Plaintiff has failed to properly present its claims to
Defendant.

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Page l

 

Case 7:15-cv-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 12 of 94

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

d. Defendant further contends that it is entitled to a determination of the percentage
of responsibility attributable to Plaintiff and each Defendant in this case, and that the jury should
be instructed accordingly.

e. Defendant would show that it is entitled to a credit or offset equal to the amount
of any and all sums which the Plaintiff has received, or may hereafter receive, by way of
settlement with any other person or party. Alternatively, pursuant to Rule 48 of the Texas Rules
of Civil Procedure, Defendant contends that it is entitled to a proportionate reduction of any
damages found against it based upon the percentage of negligence or other liability attributable

to any settling tort-feasor.

f. Defendant contends that in the unlikely event that this Defendant is found liable
to Plaintiff herein, then this Defendant would show the Court that it is entitled to recover all or a
proportionate part of all sums adjudged against it from the Co-Defendants and in proportion to
the percentage of fault, if any, attributable to all of the parties herein.

II. NONWAIVER OF MOTION TO DISMISS

Defendant reserves and does not waive its right to file a Motion to Dismiss pursuant to

Tex. Civ. Prac. and Rem. Code §150.001 et. seq.
III. SPECIAL EXCEPTIONS

a. Defendant specially excepts to paragraph V. of Plaintiff’s Petition on file with the
Court. This paragraph asserts a cause of action for breach of contract Yet the provision wholly
fails to identify the applicable contract, the applicable provision breached or any factual basis for
the alleged breach. The failure to provide such information denies Defendant the reasonable

notice of the basis for the claim and the Defendant cannot adequately prepare and frame defenses

or discovery.

441-050
Page 2

 

Case 7:15-cv-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 13 of 94

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Reviewed By: C|audia Rodriguez

b. Defendant also specially excepts to paragraph XII.1. wherein Plaintiff seeks an
unspecified amount of damages In accordance with Tex. R. Civ. Proc. Rule 47, Plaintiff should
be compelled to identify the maximum amount of damages sought

WHEREFORE, PREMISES CONSIDERED, ERO International, L.L.P. d/b/a ERO
Architects prays that the Special Exceptions be granted and that these provisions of the Petition
be stricken subject to Plaintiff re-pleading in a manner responsive to the Special Exceptions
within ten days and upon final hearing of the case, that Plaintiff takes nothing, and that ERO
Intemational, L.L.P. d/b/a ERO Architects recover costs and such other relief, at law and in

equity, to which ERO International, L.L.P. d/b/a ERO Architects may show itself justly entitled.

Respectfully submitted,

MARTINEZ & BIGGS, LLP

\.

  
      

 

n ""’ Davild Pj Benj min
State Bar No. 2134375

2161 NW Military l-Iighway, Suite 111
San Antonio, TX 78213

Telephone: (210) 881-0667
Facsimile: (210) 881-0668

E-Mail: dbenjarnin@benlawsa.com .
COUNSEL FOR DEFENDANT,
ERO INTERNATIONAL, L.L.P.
D/B/A ERO ARCHITECTS

441 -050
Page 3

 

Case 7:15-cv-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 14 of 94

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CERTIFICATE OF SERVICE

This is to certify that a true, full and correct copy of the above and foregoing has, this 1,2(_>1;1:`
day of June 2014, been delivered to:

Jesus Ramirez Brian D, Metcalf

Robert Schell Cokinos, Bosien & Young
The J. Ramirez Law Firm 1099 IH 10 West, Suite 800
Attorneys at Law San Antonio, Texas 7 8230
Ebony Park, Suite B

700 North Veterans Boulevard

San Juan, Texas 78589

 

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Page 4

 

Case 7:15-cv-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 15 of 94

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Hida|go County District C|er|<s
Reviewed By: Yesica Garza

CAUSE NUMBER C-5149-14-H

PHARR SAN JUAN ALAMo, IN THE DISTRICT COURT

INDEPENDENT ScHooL DISTRICT,
PLAINTlFF,

vs. 389TH JUDICIAL DISTRICT

TEXAS DBscoN, L.P., DEscoN 4S, LLC AND

ERO INTERNATIONAL, L.L.P. D/B/A

ERO ARCHITEcTs,
DEFENDANT.

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HIDALGO COUNTY, TEXAS

ORIGINAL ANSWER OF DEFENDAN’]`. DESCON 481 LL§:

TO THE HONOR ABLE JUDGE OF SAlD COURTZ

Now comes DESCON 4S, LLC, Defendant herein, and file this, its Or'iginal Answer to
Plaintist Original Petition, and would show the Court as follows:
l.
Defendant, DESCON 4S, LLC, generally denies the allegations contained within Plaintiff s
Original Petition and demands strict proof thereof by a preponderance of the evidence, as provided

by Rule 92, Texas Rules of Civil Procedure.

WHEREFORE, PREMisES CoNsIDERED, Defend ant DEscoN 4S, LLC, prays that upon final trial
the Court will enter a take-nothing j udgment against Plaintiff and in favor of Defendant, and for such

other and further relief to which it may be justly cntitled.

OnlolNAL ANs\vER oF DEFENDANr DEscoN 4S, LLC
SOR/ssB/4226-032/PSJA ISD/PLEADlNcs/ANS\vER/ANSWF.R - l DEscoN 4S LLC

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Case 7:15-cv-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 16 of 94

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Hida|go County District C|erks
Reviewed By: Yesica Garza

Respectfiilly submitted,

CoKINos, BOSIEN & YOUNG
1099911-1-10 West, Suite 800
San Antonio, Texas 78230
210-293-8700

  
      

By l 111
Stg[lbimif:/ O ’Rourke

State Bar No. 15310800

ATToRNEYs FoR DEFENDANT DEscoN 4S, LLC

CERTIFchth oF SERVlCE

I hereby certify that a true and correct copy of the above and foregoing Orr'gr'nal Answer of
Defendantl Descon 4S, LLC has been sent via fax on this the __ §§ f ;day of June 2014, to:

ATTORNEYS FoR PLAINTIFF
Jesus Ramirez
The J. Ramirez Law Firm
Ebony Park, Suite B
700 North Veterans Blvd.
San Juan, Texas 78589
Fax 956-502-5007

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Sdtitx\ma O’RouRKE

OR101NAL ANSWER or DEFENDANT DEScoN 4S, LLC
SOR/ssB/4226-032/PSJA lSD/PLEAD:NGs/ANswER/ANSWER v l DEscoN 4S LLC

PAGE 2 or 2

 

Case 7:15-cv-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 17 of 94

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Hida|go County District C|erks
Reviewed By: Yesica Garza

2

CAUSE NUMBER C-5149-l4-H

PHARR SAN JUAN ALAMo, IN THE DISTRICT CouRT

INDEPENDENT SCHooL DISTRICT,
PLAINTrFF,

vs. 389TH JUDICIAL DIsTRlcT

TEXAS DEscoN, L.P., DEscoN 4S, LLC AND

ERo INTERNATIONAL, L.L.P. D/B/A

ERO ARCHITECTS,
DEFENDANT.

CO¢¢O‘JW>¢»O¢W§¢O°¢O?¢O>¢OD<O¢

HIDALGO CoUNTY, TEXAS

ORIGINAL A`NSWER OF DEFENDANT. TEXAS DESCON. L.P.

To THE HoNoRABLE JUDGE or SAID COURT:
Now comes TEXAS DESCON, L.P., Defendant herein, and file this, its Original Answer to
Plaintiff’s Original Petition, and would show the Court as follows:
I.
Defendant, TEXAS DESCON, L.P., generally denies the allegations contained within Plaintiff’ s
Original Petition and demands strict proof thereof by a preponderance of the evidence, as provided

by Rule 92, Texas Rules of Civil Procedure.

WHEREFORE, PREMISES CONSIDERED, Defendant TEXAS DESCON, L.P., prays that upon final
trial the Court will enter a take-nothingjudgment against Plaintiff and in favor of Defendant, and for

such other and further relief to which it may be justly entitled.

ORlGlNAL ANswER 0F DEFENDANT TEXAS DEscoN, L.P.
SOR/ssB/4226-032/PSJA ISD/PLEADINos/ANSWER/ANSWER - 1 TEXAS DEscoN LP

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ctronica y
6/16/2014 11:47:07 Al\/|
Hida|go County District C|erks
Reviewed By: Yesica Garza

Respectfully submitted,

CoKINos, BOSIEN & YOUNG
10999 IH-lO West, Suite 800
San Antonio, Texas 78230
210~293~8700

210-293-8733 (Fax Number)

By(\

Stephanie O’Rourke
State Bar No. 15310800

   

ATToRNEYs FoR DEFENDANT TEXAS DEscoN, L.P.

CER'!‘IFICATE or SERVICE

I hereby ce11if`y that a true and correct copy of the above and foregoing Original Answer of
Defendant Texas Descen, L.P. has been sent via fax on this the [Q£/_ day of June 2014, to:

A't'roRNEYs FoR PLAINTIFF
Jesus Ramirez
The J. Ramirez Law Firm
Ebony Park, Suite B
700 North Veterans Blvd.
San Juan, Texas 78589
Fax 956-502-5007

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d~/

STEPHANIE O’ROURKE

OR\GlNAL ANswER or DEFENDANT TEXAS DEscoN, L.P.
SOR/ssB/4226-032/PSJA ISD/PLEADlNos/ANSWER/ANSWER - l TEXAS DEscoN LP

PAGE 2 OI" 2

 

 
 

SENDER: COMPLETE TH/S SECT/ON

  

 

 

 

 

 

 

 

 

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4 " N"°'° Add'°°°°d *°= 11YEs.en1er gwin addraaa<%?ww: |»'El No :

l TEXAS DESCON, L.P. ", - 41 _ l

ATTN: MICHAEL D. SMITH ` ' l

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ease /.15-cV-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 21 of 94

C-5149-14-H
389TH DlSTRICT COURT, HIDALGO COUNTY, TEXAS

 

CITATION

 

THE STATE TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attomey. If you
or your attorney do not file a written answer with the clerk who issued this citation by
10:00 a.rn. on the Monday next following the expiration of twenty (20) days after you
were served this citation and petition, a default judgment may be taken against you.

Tsxxs pEsCoN, L.P.

BY ssnerG REGISTERED AGENT: MICHAEL 1). sMITH
5801 N. 10“' sTREET, sUITE 500

McALLEN, TEXAS 78504

You are hereby commanded to appear by filing a written answer to the Pl.AlNTIFF‘S
ORIGINAL PETlTlON at or before 10:00 o’clock a.m on the Monday next after the
expiration of` twenty (20) days after the date of service hereof. before the lionorable
389th District Court of llidalgo County, Texas at the Courthouse, 100 North Closner,
Edinburg, Texas 78539.

Said Petition was filed on this the 14th day of May, 2014 and a copy of same
accompanies this citation The tile number and style of said suit being, C-5149-l4-H,
PHARR SAN JUAN ALAMO lNDEI’ENI)ENT SCHOOL l)lS'l`RICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C. AND ER() INTERNATIONAL, L.L.P. DfoA
ERO ARCHITECTS

Said Petition was filed in said court by Attomey JESUS RAMIREZ,
700 N. VETERANS BLVD., EBONY PARK, SUlTE B SAN JUAN, TX 78589.

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this Writ shall promptly serve the same according to requirements
of law, and the mandates thereo f, and make due return as the law directs

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 29th day of May, 2014,

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CLA l DIA I. RODRIG EZ DEPUT '

 
  
  
    
  

  
    

 

ease /:15-cV-00465 Document 1-12 Filed in TXSD on 11/06/15 Page 22 of 94

CERTIFIED MAIL 7014 0510 00014918 5969

CERTIFICATE OF RETURN
UNDER RULES 103 T.R.C.P.

This is to certify that on this the 29th day of May, 2014 l, Claudia I. Rodriguez, Deputy
Clerk of the 389th District Court of Hidalgo County, Texas mailed to the defendant in
Cause Number C-5149-14-H, Pharr San Juan Alamo independent School District VS.
Texas Descon, L.P., Descon 4S, L.L.C., ERO lnternational, L.L,P. d/b/a ERO Architects
a copy of the citation along with a copy of the petition by certified mail return receipt
requested. Retum receipt was returned on the __ day of , 201__ (or
unserved for the reason on the certificate retum) ,

 

GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at office in Edinburg,
Texas on this the 29th day of May, 2014,

LAURA HINOJOSA, DIS'I`RlCT CLERK
HIDALGO COUNTY, TEXAS

 

CLAUDIA I. RODRIGUEZ, DEPUTY CLERK

COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT
In accordance to Rule lO‘i, the officer or authorized person who serves or attempts to
sen/c a citation must sign the return. lf the return is signed by a person other than a
sherit`f, constable or the clerk of the court, the return rnust either be verilied or be signed
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MCALLEN, TX 78504

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Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Page 25 of 94

C-5149-14-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

 

 

CITATION

 

THE STATE TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you
or your attorney do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration ol` twenty (20) days after you
were served this citation and petition, a default judgment may bc taken against you.

DESCON 4S, L.L.C.

BY SERVING REGISTERED AGENT: MICHAEL D. SMITH
5801 N. 10TH STREET, SUlTE 500

MCALLEN, TEXAS 78504

You are hereby commanded to appear by filing a written answer to the PLAINTIFF'S
ORIGINAL PETITION at or before 10:00 o’clock a.m on the Monday next after the
expiration of twenty (20) days after the date of service hereof, before the Honorable
389th District Court of Hidalgo County, Texas at the Courthouse, 100 North C.losner,
Edinburg, Texas 78539.

Said Petition was filed on this the 14th day ol` May, 2014 and a copy of same
accompanies this citation. The file number and style of said suit being, C-5149-l4-H1 C-
5149-14~H, PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DlSTRICT
VS. TEXAS DESCON, L.P., DESC()N 4S, L.L.C. AND ERO INTERNATIONAL,
L.L.P. D/B/A ERO ARCHITECTS

Said Petition was Iilecl in said court by Attorney JESUS RAMIREZ,
700 N. VETERANS BLVD., EBONY PARK, SUlTE B SAN JUAN, TX 78589.

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 29th day of May, 2014,

 

 

case 7:1B-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Page 26 of 94

CERTIF[ED MAlL 7014 0510 00014918 5945

CERTIFICATE OF RETURN
UNDER RULES 103 T.R.C.P.

This is to certify that on this the 29th day of May, 2014 I, Claudia I. Rodriguez, Deputy
Clerk of the 389th District Court of Hidalgo County, Texas mailed to the defendant in
Cause Number C-5149-l4-I-I, Pharr San Juan Alarno Independent School District VS.
Texas Descon, L.P., Descon 4S, L.L.C., ERO International, L.L.P. d/b/a ERO Architects
a copy of the citation along with a copy of the petition by certified mail return receipt
requested. Retum receipt was returned on the ____ day of , 201__ (or
unserved for the reason on the certificate return) .

 

GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at office in Edinburg,
Texas on this the 29th day of May, 2014.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

 

CLAUDIA I. RODRIGUEZ, DEPUTY CLERK

COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT
ln accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. ll" the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of` perjury must contain the
statement below in substantially the following form:

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declare under penalty of perjury that the foregnin 1 ' -

 
  

 

 

 

 

 

 

 

    
    
      
  
   

 

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Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Page 29 of 94

C-5149-l4-H
389TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

 

CITATION

 

THE STATE TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If` you
or your attorney do not file a written answer with the clerk who issued this citation by
lO:OO a.m. on the Monday next following the expiration of twenty (20) days after you
were served this citation and petition, a default judgment may be taken against you.

ERo lNTERNATIONAL, L.L.P. D/B/A ERO ARCHlTECTs
300 soUTH s“' sTREET
MCALLEN, TEXAS 73501

You are hereby commanded to appear by filing a written answer to the PLAINTIFF'S
ORIGINAL PETITION at or before 10:00 o’clock a.m on the Monday next after the
expiration of twenty (20) days after the date of service hereof, before the Honorable
389th District Court of Hidalgo County, Texas at the Courthouse, 100 North Closner,
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Said Petition was filed on this the 14th day of May, 2014 and a copy of same
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PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT VS. TEXAS
DESCON, L.P., DESCON 4S, L.L.C. AND ERO INTERNATIONAL, L.L.P. D/B/A
ERO ARCHITECTS

Said Petition was filed in said court by Attomey JESUS RAMIREZ,
700 N. VETERANS BLVD., EBONY PARK, SUlTE B SAN JUAN, TX 78589.

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof,

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 29th day of May, 2014,

 

 

Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Page 30 of 94

CERT|FIED MAlL 7014 0510 0001 4918 5952

CERTIFICATE OF RETURN
UNDER RULES 103 T.R.C.P.

This is to certify that on this the 29th day of May, 2014 I, Claudia I. Rodriguez, Deputy
Clerk of the 389th District Court of Hidalgo County, Texas mailed to the defendant in
Cause Number C-5149-14-H, Pharr San Juan Alamo independent School District VS.
Texas Descon, L.P., Descon 4S, L.L.C., ERO International, L.L.P. d/b/a ERO Architects
a copy of the citation along with a copy of the petition by certified mail return receipt
requested. Retum receipt was returned on the _ day of _, 201__ (or
unserved for the reason on the certificate return) .

 

GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at office in Edinburg,
Texas on this the 29th day of May, 2014,

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

 

CLAUDIA I. RODRIGUEZ, DEPUTY CLERK

COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT
In accordance to Rule 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. If the return is signed by a person other than a
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under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is , my date of birth is
and the address is 1and l
declare under penalty of perjury that the foreg ' ""

 

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Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Page 31 of 94
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Hida|go County District C|erks
Reviewed By: Prisci||a Rivas

cAUsE NO.C'5149_'1_4.'_H
PHARR SAN JUAN ALAMO § IN THE DISTRICT COURT
INDEPENDENT SCHOOL DISTRICT §
Plaintiff §
§
§
vs. §
§ HIDALGO COUNTY, TEXAS
TEXAS DESCON, L.P., DESCON 4S, §
L.L.C. and ERO INTERNATIONAL, §
L.L.P. d/b/a ERO ARCHITECTS §
Defendants § JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION

NoW CoMEs, Pharr san Juan Alamo independent schooi Districr, Plaintiff
herein, complaining of Texas Descon, L.P., Descon 4S, L.L.C., and ERO International,

L.L.P., d/b/a ERO Architects, and would show the Court as follows:

I.
Plaintiff intends to conduct discovery under Level 2 pursuant to Texas Rules of
Civil Procedure 190.2.
il.
Jurisdiction and Venue
Venue is proper in Hidalgo County, Texas, as all or a substantial part of the acts
or omissions giving rise to this cause of action occurred there. Tex. Civ. Prac. & Rem.

Code, Section 15.002(a)(l).

III.
Parties

 

Case 7:15-0\/- -00465 Document 1- 12 Filed in TXSD on 11/06/15 Page 320 f94

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5/14/2014 2: 19: 51 Pl\/l
Hida|go County District C|erks

C_5149_14_H Reviewed By: Prisci||a Rivas

Plaintiff is Pharr San Juan Alamo Independent School District, a public
independent school district and a political subdivision, duly formed and existing under

the laws of the State of Texas, based in Hidalgo County, Texas.

Defendant is Texas Descon, L.P., a business entity with its principal office located
in McAllen, Hidalgo County, Texas. lt may be served through its registered agent for
process, Michael D. Smith, at 5801 N. 10th Street, Suite 500, McAllen, Texas 78504.

Defendant is Descon 4S, L.L.C., a business entity with its principal office located
in McAllen, Hidalgo County, Texas. lt may be served through its registered agent for
process, l\/lichael D. Smith, at 5801 N. 10th Street, Suite 500, McAllen, Texas 78504.

Defendant is ERO lnternational, L.L.P. d/b/a ERO Architects, a business entity
with its principal office located in McAllen, Texas. lt may be served through any adult
person authorized to accept service on behalf of ERO lnternational, L.L.P. at 300 South
8“‘ street McAuen, rean 78501.

IV.
Facts

On or about February, 2008, the governing board of Pharr San Juan Alamo
Independent School District (hereinafter, “Plaintiff” or “the District”) authorized a
preliminary investigation and assessment into the feasibility of upgrading and/or
renovating existing structures at the District’s Memorial Middle School campus in Pharr,
Texas. One of the buildings considered for renovations and/or upgrades was a three-

story main building, constructed in 1915 or 1918 with subsequent remodeling and/or

 

Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Page 33 of 94
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Hida|go County District C|erks
C_5149_14_H Reviewed By: Prisci|ia Rivas

additions in 1976 and 1986. Other buildings considered for renovation included a
building used for textbook storage and a building used as a band hall, both originally

constructed sometime in the l940’s.

On or about February 22, 2008, a Houston-based firm of consulting engineers,
Terracon, published its report of an on-site property condition assessment and inspection
of the buildings considered for renovations/upgrades. Terracon’s assessment was based
upon visual inspection of the property, some construction drawings relating to alteration
and remodeling projects, as well as interviews with the District’s construction manager,
Mr. Ray Sanchez and Mr. Eli Ochoa, P.E., A.I.A., an engineer working for Defendant
ERO International, L.L.P., an architectural firm (hereinafter, “Def`endant” or “ERO”).
The Terracon report concluded that the buildings were in “fair to poor condition” and
recommended that a detailed investigation of the foundation and structural framing be
conducted by a qualified structural engineer to ascertain the viability of future
renovations of the buildings The Terracon report further noted that during inspection

they discovered water ponding in the basement floor.

On or about March 3, 2008, Defendant ERO completed its own inspection of the
existing structures at Memorial Middle School. ERO’s report of its inspection noted
various problems with the existing structures and the site, including large amounts of
standing water and needed repairs or upgrades to the roofing system and exterior walls.
The report ultimately recommended that the District should replace the campus rather
than proceed with renovations and upgrades, and cautioned that major transformations,
such as an evisceration of interior components for Structural repairs to the foundation,

sub-flooring and Walls would be necessary if the District proceeded with renovations.

 

Case 7:15-cv-OO465 Document 1-12 Filed in TXSD on 11/06/15 Pagce 34 of 94
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5/14/2014 2:19:51 PM
Hida|go County District C|erks

C_5149_14_H Reviewed By: Prisci||a Rivas

Nevcrtheless, on the basis of subsequent representations from Defendant ERO
that it would be safe, feasible and economically practicable to proceed, the governing
board of the District authorized the renovation/upgrade project (“the Project”), to be
completed in two phases. Phase I would be the upgrade/renovation and adaptive reuse of
the three story main building (“Main Building”) and Phase II would be the

upgrade/renovation and adaptive reuse of the band hall and textbook storage building

Defendant Texas Descon, L.P. through its general partner Descon 4S, L.L.C.
(collectively, the “Descon Defendants”) executed a contract as the General Contractor on
the Project on or about May 4, 2010. Defendant ERO executed a contract as the

Architect on the Project, on or about May 26, 2010.

Phase I of the Project entailed demolition of certain outer columns and support
structures in order to construct improvements to the Main Building. Specifically, these
improvements would be structures that linked newer building wings to the Main
Building. During the course of the demolition of the outer support structures, portions of
the main school building not designated for demolition, including large parts of the west
wall and second story iloor, collapsed.

Regarding Phase II of the Project, it was discovered in the course of construction
of additions and renovations to the textbook storage building and band hall that the walls
and support systems would have to be entirely demolished and rebuilt for stability
purposes, essentially requiring that the buildings be re-constructed from the foundation
up.

Post-delivery of the Phase l Project to Plaintiff, the basement floor exhibited

infiltration of water requiring changes to the initial specifications and a major overhaul to

 

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the flooring.

Vl

Breach of Contract

Plaintiff realleges and incorporates each material allegation contained in
Paragraphs l through IV of this Petition as if iiilly set forth herein. Defendants breached
their respective construction project contracts with Plaintiff by failing to perform the
work as contemplated, or performing the work in a sub-standard manner that caused
damage to Plaintiff’s property. The respective contracts were supported by
consideration, were never repudiated by any party to them, and all conditions precedent
to their enforcement have occurred. Plaintiff incurred damages from the respective
breaches of contract by having to incur expenses to repair, redesign, and replace the

damaged buildings For these damages, Plaintiff seeks redress from this Court.

VI.
Negligence
Plaintiff realleges and incorporates each material allegation contained in
Paragraphs I through V of this Petition as if fully set forth herein. The Descon
Defendants were negligent in the following ways: planning and/or execution of the
demolition portion of Phase l of the Project, resulting in the toppling of large portions of
the west Wall and second story floor and damaging the east wall and failing to follow the
specifications and product installation conditions for the basement floor. This negligence

on the part of the Descon Defendants included, but was not limited to, failure to

 

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adequately inspect and test the structures and site beforehand and failure to use
appropriate demolition means and methods

Defendant ERO was negligent in one or more of the following ways: failing to
undertake a more thorough investigation and determination of the structural integrity and
conditions of the facilities; failure to advise Plaintiff during the design phases of Project
of ERO’s lack of sufficient information to design and specify the Project; and advising
Plaintiff to proceed With bidding the Projects in spite of insufficient plans and
Specifications. Negligence on the part of Defendant ERO also included, but was not
limited to, failure to adequately inspect and test the structures, failure to require and
review a submittal for proper demolition means and methods, and failure to design
improvements/additions to the existing structures which would have been appropriate and
feasible.

ERO’s negligence in its advice to Plaintiff and its negligent design, combined
With Descon’s negligence, resulted in the toppling of large portions of the west wall and
second story floor of the main classroom building, the moisture infiltration to the
basement floor and the additional cost of completion of the textbook storage facility and
band hall.

Defendants collectively owed a duty of care to plan and perform the demolition in
a manner that would not result in the destruction of the District’s property that was not
scheduled for demolition, and to recommend and design additions and renovations that
were appropriate for existing structures at the Memorial Middle School campus.

Defendants breached this duty, proximately causing damages to Plaintiff.

 

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Plaintiff has suffered injury in that costs to clean up, redesign, and rebuild the
structures were incurred. For these darnages, Plaintiff seeks redress from this Court.
The Certificate of Merit of Bradford Russell, AIA, Architect, detailing the specific acts of

negligence of Defendant ERO, is attached herein as Exhibit “A,” and incorporated for all

purposes.

VII.
Negligent Misrepresentation

Plaintiff realleges and incorporates each material allegation contained in
Paragraphs l through VI of this Petition as if fully set forth herein. Plaintiff brings this
action for common law misrepresentation against Defendant ERO. Defendant ERO
provided false information to Plaintiff in the course of Defendant’s business. ERO failed
to exercise reasonable care or competence in obtaining and communicating, and Plaintiff
justifiably relied on, the information, with damages to Plaintiff proximately resulting
from said reliance. Specifically, Defendant ERO represented to Plaintiff that the
improvements in the form of renovations and additions that ERO recommended and
designed would be appropriate for the existing structures at the Mernorial Middle School
campus, and could be feasibly completed as planned without foreseeable damage to
existing structures, and without necessitating demolition and rebuilding of portions of
structures not designated for demolition/rebuilding

Plaintiff justifiably relied upon the representations of ERO in making its decision
to approve the improvements, based upon ER()’s professional credentials, and thereby

suffered damages when it was discovered that the improvements recommended and

 

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designed by Defendant .ERO were not appropriate for the existing structures and could
not be completed without excess destruction and rebuilding far beyond what was

originally contemplated

VIII.
Gross Negligence

Plaintiff further alleges that the acts and omissions of Defendant ERO constituted
gross negligence, in that these acts or omissions, when viewed objectively from ERO’s
standpoint at the time Of the occurrence, involved an extreme degree of risk considering
the probability and magnitude of potential harm to others, which ERO had actual
subjective awareness of the degree of risk involved, but proceeded with conscious
indifference to the rights, safety, and welfare of others. Pleading more specifically,
Defendant ERO recommended and designed improvements in the form of renovations
and additions to existing structures at the District’s Memorial Middle School campus
when it had actual, subjective knowledge that no renovations or additions should be
contemplated because of inherent problems with the structures, yet nevertheless
proceeded to recommend and design these improvements with a conscious disregard of
the possibility of catastrophic accidents causing extreme property damage and/or

potential injury and loss of life.

lX.

Limitations/Repose

 

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Plaintiff, being a school district, alleges that none of the causes of action pled herein

are barred by limitations by operation of Tex. Civ. Prac. & Rem. Code, § 16.061.

Further, Plaintiff alleges that the Statute of Repose found in Tex. Civ. Prac. & Rem.
Code § 16.008 does not bar its claim against Defendant ERO, who designed or planned
the improvements on the Project, as Plaintiff has filed suit within ten years of the

beginning of the operation of the equipment at the Proj ect site.

Further, Plaintiff alleges that the Statute of Repose found in Tex. Civ. Prac. & Rem.
Code § 16.009 does not bar its claim against the Descon Defendants, who constructed or
repaired improvements in the course of the Proj ect, as Plaintiff filed suit within ten years
of the substantial completion of the improvements (i.e., renovations and additions to the

buildings in question).

Xl
Resulting Legal Damages

Plaintiff is entitled to the actual damages proximately resulting from the
Defendants’ actions and omissions. Plaintiff has sustained damages in excess of the
minimal jurisdictional limits of this Court resulting from the Defendant’s acts and/or
omissions Plaintiff is also entitled to recover exemplary damages pursuant to Chapter
41 of the Texas Civil Practice & Remedies Code for the actions of Defendant ERO which

constitute gross negligence

XI.
Jury Demand

Plaintiff demands a trial by jury and tenders the appropriate fee with this Petition.

 

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XII.
Prayer

WHEREFORE, Plaintiff requests that the Defendants be cited to appear and

answer, and that on final hearing, Plaintiff recover from Defendants, jointly and

severally:

l.

Damages against Defendant in an amount exceeding the minimum
jurisdictional limits of this Court, plus accrued interest from the date on which

the claim accrued to the date ofjudgment;
Exemplary damages;

Attomey’s fees in a reasonable sum as the Court may award;
Costs of suit, and pre and post judgment interest;

In the event of an appeal to the court of appeals, additional reasonable
attorney's fee; in the event of granting of writ to the Supreme Court, additional
reasonable attorney's fees.

Such other and iiirther relief to which Plaintiff may be justly entitled at law or
in equity.

Respectfully Submitted,

THE J. RAMIREZ LAW FIRM
Attomeys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 78589

(956) 502-5424

(956) 502-5007

13th
JESU ‘ IR_EZ

 

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C-5149-14-H

SBN 16501950

Email: ramirezbook@gmail.com
Attomey for Plaintiff

ROBERT SCHELL

SBN 24007992

Email: robert_schell@hotmail.com
ATTORNEYS FOR PHARR

SAN JUAN ALAMO I.S.D.

 

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EXHIBIT “A”

 

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CAUSE NO._________w
PHARR SAN JUAN ALAMO

INDEPENDENT SCHOOL DISTRICT
Plaintiff

IN THE DISTRICT COURT

vs.

HIDALGO COUNTY, TEXAS

TEXAS DESCON, L,P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

Cmfmw>@@€m@@<m@¢m

JUDICIAL DISTRICT

AFFIDAVIT OF BRADFORD RUSSELL, A.I.A., P.E.
THE STATE OF TEXAS

§
§
COUNTY or HIDALGo §

BEFORE ME, the undersigned authority, on this day personally appeared Bradford
Russeil, A.I.A., P.E., who being by me duly sworn on oath deposed and said:

l. “My name is Bradford Russell. l am over the age of twenty-one (21) years, I have
never been convicted of a felony, and l am competent to make this affidavit l have
personal knowledge of the matters contained in this affidavit, and they are true and
correct

2. This affidavit is submitted pursuant to the requirements of TEXAS CIV!L PRACTICE
AND REMED!ES CODE § 150.002, with respect to the architectural services provided by
Mr. Eli Ochoa, A.I.A., P.E. and ERO International, L.L.P. d/b/a ERO Architects in
the design and planning of improvements at Pharr San Juan Alamo Independent School
Disti~ict’s Memorial Middle School in Pharr, Texas (the “Project”).

3. l am a licensed professional architect and structural engineer in the state ofTexas, l am
competent to testify, and I am actively engaged in the practices of architecture and
engineering A true and correct copy of my resume is attached hereto as Exhibit A, and is
incorporated herein by reference for all purposes

4. Based on my reseai'cli, experience in the industry, and review of Project Documents, as
described herein below, Mr. Ell Ochoa, A.I.A., P.E. and ERO International, L.L.P.
d/b/a ERO Architects were engaged in, and were retained on the Project, to plan and
design improvements, including renovations and additions to existing structures and all
architectural requirements in connection therewith

 

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5. As shown in my i'esume, Exhibit A, lam licensed to practice architecture, and have,
for the past 15 plus yeai's, been actively engaged in providing architectural services for
clients similar in nature and geographic location to the Project,

6. Based on my education and professional experience, I have personal knowledge of the
acceptable standards for the practice of architecture and the plan and design of
improvements including renovations and additions to older structures and all architectural ‘
requirements in connection therewith, in the state of Texas and the greater McAllen area,
which was the task to be performed by Mr. Eli Ochoa, A.I.A., P.E. and ERO
International, L.L.P. d/b/a ERO Architects on this Project.

7. I have reviewed the following documents (the “Pro j ect Documents” herein) relating to
the Project and Mr. Eli Ochoa, A.I.A., P.E. and ERO lnternational, L.L.P. d/b/a ERO
Architects’ services in this matter:

See Exhibit B: Project Documents

8. Based on my education, experience, and a review of the Project Documents, it is my
professional opinion that Mr. Eli Oclioa, A.I.A., P.E. and ERO International, L.L.P.
cli'bfa ERO Al'chitects is responsible for at least the following act, error, or omission that
exists on the Pi'oject:

1) Failing to undertake a more thorough investigation and determination of
the structural integrity of an existing building for future modifications,
and existing conditions of the facilitics,

2) Failure to advise Plaintiff during the design phases of Project of ERO’s
lack of sufficient information to design and specify the Project without a
degree of uncertainty,

3) Failure to require and review a submittal for proper demolition of
Project from the contractor for the construction,

4) Failure to design improvements/additions to the existing structures which
would have been appropriate for structures of similar age and condition.

9. These acts, errors, and/or omissions show that Mr. Eli ()choa, A.I.A., P.E. and ERO
International, L.L.P. d/b/a ERO Architects failed to meet the applicable work product
standards of similar design professionals

10. My investigation is ongoing, and further examination of the Project may lead to a
different understanding or to the discovery of additional negligent acts, errors, and/or
omissions in the work performed by Mr. Eli Oclioa, A.I.A., P.E. and ERO
International, L.L.P. d/b/a ERO Architects. As a i'esult, I reserve the right to
supplement and/or expand my opinions and conclusions with respect to the performance
of Mr. Eli Ochoa, A.I`.A., P.E. and ERO International, L.L.P. d/b/a ERO Architects.

 

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Fui'tlier affiant sayeth naught.

A//%

ordime RIJssELL, A.I.A., P.E.

sUBscRIBr.:r) AND sWoRN ro before me by inc said patient diesel lou this the

 

57 ""JL“ day of Z/’g¢.: f 2014 to certify which witness my hand and seal of office
/ff § ffsz /(a __L
NOTARY PUBLIC IN AND FOR
THE STATE OF TEXAS

LAURA S SRIDW!LL-HEYE|\¢S

My Commission Expires: ` ` ny commmlon wires
- - Novombsr 19. 2017

 

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ARCl-i TECTS
& E NG N E E RS Bradford Russell, AIA, P.E.
Director of Architecture/ Engineering
BR Architects, Inc.
Education:

Southern Methodist University', Dallas, Texas
Curreutly writing PhD
` University of Texas at Arlington

Master of Engineering in Civil / Structur.al Engineerlng

Texas Tech University, Lubbock, Texas

Bachelor of Architectu re, Tau Sigma ,Deita Honor Society,
Bachelor of Science in Civil Engineering, Tau Beta Pi Hon'or

Society, Chi Bpsilon Honor Society
Professional Registr-ation:
Regist_ered Architect, State ot.`Texas
Registered Architect, State of Oklahoma

Registered Prot`essionall Engineer, State of Texas
Registered Prot`essional Engineer, State of Oklahoma

Certified to practice Structural Engineering by the Stl.'ucttn‘ai Engineering

Certification Board (SECB)
Registered Accessibility Specialist

Nanonarcouncii er Archiieamrai Registraeon names (NCARB)

NCA$RB Seismic Mitigation Monograph

NCEES file holder

NCEES .lnternational Reg'is try Certificate holder
LEED Accredited Pro.t`essional

CalEMA Sai'ety Assessment I’rogram card holder

Texas Depaxttnent of [nsurance ~ Engineers Appointed to Perfomi

Windstorm .lnspections.
Proi`cssional Affiiiations:

Dallas Chapter AIA,

Texas Soeiety of Architects

Amer.ican Institute of Architects

American Society of Civil Engineers

S_tiuctural Engineering Institute

Structural Engi'neering Asscciation ofTexas

U`S Green Building Counci.l

Greater Dallas Planning Council, Board Member

Profess.io.ual Orgauization Positions:

Dallas Chapter AIA,
Past Small Finns Committee Chair
Past Constrnction Industries Aifairs Co-Chair

BR ARCH!TECTS, lnc.
2007 N. Collins Blvd., Suite 507 ¢ Rlchardson, 'l`exas 75080 0 P (9'72) 235-9308

¢ P (.972) 235~9388

 

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Project Resume
Bradford Russell, AIA, P.E.

BR Architects, Inc.
Dccember 2013
Page 2 of 9
National AIA
Past Executive National SFRT Committee Co-Chair
Past Member Board Knowledge Committee
Past President Dallas Stiuctural Engineering Association of Texas -
SEAoT
Curient SEAoT Chair to Stmctural Engineering Emergency Response
Plan (SEERP)
Current SEAoT / AIA Liaison
Pending Pateut:
Patent Application No.: 13/969,529
Patent Title'. Load Bearing Structural Asseinbly

A Load Bcaring Structural Assernbly is created to transfer and absorb
loading between parts more evenly and efficiently

Selected Publicatlons:

2000 ‘Co|umns - Monthly Publioation oi' the l.)allas Chapter of American
institute of Architects' - The Psychology of Architectural Spaee,
December.

2005 ‘Dallas / Fort Worth Constructlon News’ - Green design, flexible

environments, enhanced roadways among current trend - editorial
interview, September.

2006 ‘Dallas Oft`lc'c & Commercia| - Real Estate Magazine' - ‘What Next?’,

Issue 4.
2009 ‘The Structural Engineer - A Puhlicati.on of the Structural Enginem's

Association oi"|`cxas' - Green Materials to 0fi"set Seisinic and Other
Na'cural Disaster Events, Spring.

2009 ‘The Americrm lnstitute ofArchitccis Chicago Chapter - Changing Times
/ Time for Change’ ~ The Use of Green Materials in the Construction of
Buildings' Structure, September.

2013 ‘Pre-Cast Manufacuirer Associaiion of Texas »- yearly membership
publication’ - What happens to the structure when it is created as art?,
September.

Litigatiou Consulting:

2008-2012 Under contract with TBAE for reviewing and consulting on the
Architeetural and Structunal Engineering litigation related issues of
statutory provisions and rules enforced by the Board. This consulting
includes competence and/or legal authority of the design professional to
perform services noted as well as other issues.

BR ARCI'llTEC“l`S, Inc.
2007 N. Collins Blvd., Suite 507 t Richardson, Toxas 75080 ¢ P (9'72) 235-9308 l F (972) 235-9388

 

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Project Resume

Bradford Russell, AlA, P.E.
BR Architects, Inc.
December 2013

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2003-2014 Various Architectural and Str'uctrrral Engineering litigation consulting
concerning various inter~discipline issues of practice Various
Ar'oliitectural and Structural Engineering project failure investigations -
various building types.

Representative Projects (Condensed list):
Building Forensic lnvestlgatlon:

2005 -- 2014 Various multi-story building investigations on elevator failures
(Arclritectural and Structural) various locations through the southeast/
west - Architectural Invcstigation and Reporting, and Structural
Engineering lnvestigation and reporting

201 1 DART retaining wall failure building impact investigation, Irving, Texas -
12,000 sq.ft. building adjacent to DART retaining wall experienced
structural failures in foundation, paving, roof framing, exterior concrete
panols, etc. - Structural Engineer'ing Investigation and Reporting.

2010 Gneenville Avenuc Historic Building fire damage renovation, Dallas,
Tcxas -11,000 sq.ft. building footprint, 3,100 sq.ft. 2"d floor mezzanine,
6,500 sq.ft. roof top mezzanine - Structural Engineering Design and
Documentation ~ $l,000,000 estimated construction cost.

2007 Robert Lynn Commercial Real Estate Services, Dallas, Texas ~ 151 Regal
Row - 180,000 sq.ftz warehouse structural forensic investigation -
Struotural Engineering Investigation and Reporting.

2007 WellsREI'I` / Emcor, Irving, Texas - 6333 N. State Highway 161 -
structural investigation for various building failures including garage
exterior wall joint,l exterior retaining wall, exterior panel, ete. - Structural
Engineering lnvestigation and Reporting.

2007 JP Morgan Chase, Dallas, Texas - 6300 Haxry Hines - approximately
30,000 sq.t`t. investigation of multi-story building - structural capacity
investigation for increase in floor loading - Structural Engineering
Investigation and Roporting.

l-Iotel Design:

2006 Courtyard by Marriott, Waco, Texas - 4,000 sq. ft. structural remodel -
wood frame, wood truss, wood lateral support - Structural Engineering
Design, Documentation - $350,000 construction cost.

2003 Arnerihost Inn Hotel, Gun Barrel City, Texas - 75-,000 sq. ft. Structural

engineering design, wood fr'arne, steel and wood lateral support, concrete
foundation - Structural Engineoring Design, Documentation - $5.8 million
construction cost.

BR ARCHITECTS, lnc.
2007 N. Colllns Blv<l., Suite 507 0 Richardson, 'l`exas 75080 0 I’ (972) 235-9308 0 l"` (972) 235“9388

 

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Bradford Russell, AIA, P.E.
BR Architects, Inc.
Decernber 2013

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1999 Bradford I-lcme Suites, Dallas, Houston, North Park, Texas -- 85,000 sq. ft.
to 109,000 sq. i't. structural engineering design, wood frame, post tension
parking and foundation - Structural Engineering Design, Docurnentation -
$5.6 million construction cost

Commercial Design:

2003 Informatios, Inc., Plano, Texas - 35,000 sq. ft. office / Warehouse - tilt up
construction, steel joist, and concrete slab on grade -`- Architectural
Design, Production and Management ~ $2.7 million construction cost

2003 ESI, lnc., Plano, Texas - 20,000 sq. ft. office / warehouse addition to
existing facility - tilt up construction, composite steel beam concrete tloor,
and concrete slab on grade - Architectural Design, Production and
Managornent - $1.8 million construction cost.

2010 Gcld Metal Recyclers, Dallas, Texas - 10,000 sq.ft. office addition into
existing metal building, wood, steal, and concrete - Architectural and
Structural Engineering Design, Documentation - $0.65 million
construction cost.

2010 R'l`VF, Dallas, Texas - 6,000 sq.ft. footprint With 6,000 sq.ft. 2'id floor
office reconstruct, wood, steal, and concrete - Architectural and Structural
Engineering Design, Docunrentation - $0.75 million construction cost.

2005 HSR Plaza Phase II, Carrollton, Texas - 14,000 sq. ft. professional office
building, wood, steal, masonry, and structure - Architectural and
Sttuctural Engincering Design, Documentation - $1.4 million construction
cost.

2014 Modern For'ge 'l`cxns Ofi'ice, Hurst, Texas - 5,000 sq.ft. regional
manufacturing office building, steel frame, masonry, EIFS, and structure -
Architectural and Suuctural Engineer'ing Design, Dccumentation » $500
thousand construction cost\

Industrial Dcsigu:

1996 Jupiter 190 Building 4, Dallas, Toxas - 200,000 sq. ft. warehouse using tilt
up constiuction, steel joist, and concrete slab on grade - Architectural
Design, Production, and l\/Ianagement ~ S7 million construction cost.

1996 Exch Warehouse, Addison, Texas - 200,000 sq. ft. warehouse using tilt
up construction, steel joist, and concrete slab orr grade - Architectural
Design, Production, and Management ~ $6.6 million construction cost.

2005 Atlas Copco Ofi'ice, Garland, Texas - 2,000 sq. ft. addition to drilling
assembly areas - steel frame, composite floor 2'“‘ floor, concrete slab on
grade 1s1 floor - Architectur'al Design, Production, Structural Engineering
Design, Production ~ $500,000 construction cost.

BR ARCHrTEC'rS, lnc.
2007 N.Collins Blvd., suits 507 » ni¢hardson,rcxas75080 o P(<)72)235-9308 o F(972)235-9388

 

 

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Bradford Russoll, A]A, P.E.

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Decernber 2013
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Retail Design:
2005

2004

1999

Whitetail Nurseries, Mesquite, Texris - 17,500 sq. ft flower growing,
distribution, and retail - Architectural Design, Production, Structurai
Enginecring Design, Production - $850,000 construction cost.

Family Dol]ar Retail / Offrce, Garland, Texas - 9,000 sq. i`t. retail / office
using Cl\/IU load bearing masonry, steel joist, and concrete slab on grade -
Architectural Design, Production, and Management, Structural
engineering Design, Production, and Mgmt. - $800,000 construction cost.

Walgreen’s Retai| Store, Plano, Texas - 14,000 sq. ft. retail store with all
amenities - steel framing, tilt up walls -Structural Engineen'ng Design,
Project Management - $1,200,000 construction cost.

Entertainment Design:

2006

2004

1993

Paciugo Icc Crearn, Frisco, Texas - 4,000 sq. ft. interior finish out of shell
structure, dining, l<itchen, rest rooms, and other amenities - Architectnral
Design, Documentation, Project Managcnrent - $400,000 construction
cost.

Rick’s Kicl<s Martial Arts Studio, Frisco, Texas - 5,000 sq. ft. martial arts
studios, office, Video room, and other amenities - stone / brick veneer,
wood frame, steel support, wood lateral resistance, concrete foundation -
Architectural Design, Production, and Management, Structural
engineering Design, Production, and Mgmt. - $550,000 construction cost.

The Ballpark in Arlington, Ariington, Texas - $191 million structure, steel
framed, masonry veneer, concrete foundation - Architectural Construction
Administr'ation, Structural Engineering revisions during,r construction

Governmental Design:

2010

Municipal Design:
20 l 0

200 1

Red River Army Blast Booth, Texarkana, Texas - 10,000 sq.ft. blast booth
for equipment repair and cleaning - Structural Engineering Dcsign and
documentation - $800,000 construction cost.

City of Richardson Fire Station, Richardson, Texas - 2,500 sq. ft. metal
storage building addition to existing fire station - Arclritectural Design, ,
Construction Administration, Structural Engineering Dcsign and
Docurnentation - $75,000 construction cost.

Southern Hunt County Community Center, Quinlan, 'l`exas - 9,800 sq. it.
steel frarned, masonry exterior ~ gymnasium, recreation arcas, lcitchen, and
offices - Architectural Dcsign, Production and Managernent - $880,000
construction cost.

BR ARCH ITEC’I`S, lnc.

2007 N,Co|lin$ Blvd.,SuiteSO? ¢ Richardson,'i`exas']$OSO 0 P(972)235~9308 » F(972) 235-9388

 

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Project Resurne

Bradford Russell, AIA, P.E.
BR Architects, Inc.
December 201 3

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1999 Richardson Senior C-itizens Center7 Richar'dson, Texas - 3,000 sq. ft.
addition, 12,000 sq. ft. interior remodel and finish out - Architectural
Design, Management and Construction Adrninistration - $900,000
construction cost.

LEED Projects (in Progress):
Green Projects:

2008 Fort I~Iood Family Housing, Fort Hood, Texes - 8,000 sq. ft. Comnrunity
Center - single story LB`ED Silver - Structursi Engineerirrg Design,
I"rodrrction1 Constnrction Adrninistratiom LEED Consulting - $1,500,000
estimated construction cost.

2006 McKirmey Aero County Airport, McKinncy, Texas - 6,300 sq. ft. interior
finish out f rcrnodel cf existing county airport irrtc weekend residence!
office - Arclritectural Desigrr, Production, Constnrcticn Adrninistration,
Various Structural Errgineering Design and Docurncntation - $530,000
construction cost.

2006 Colorado Blvd. Rcsidencc Remodel / Addition, Dallas, Texas - 5,000
sq. ft. rcrncdel and addition - Wood {i'anred, concretc!briel< foundation
early l900’s residence design by rerrowned Louisiana architect ~
Architectural Design, Structural Engineering Design, Documentation, and
Managernent - $630,000 construction cost.

2002 Cristirra’s Fiowers, Piano, Texas - existing horne addition f conversion to
10,000 sq. ft. dower distribution and retail ~ Architectural Desigrr,
Prroduotion and Construction Adrninistration - $600,000 construction cost.

Restaurant Dcsign:

2007 Pizza Hut - Fn'sco Soccer & Entertainrnent Conrplex, Frisco, Texas -
6,500 sq.ft. dining, lcitchen, rest rooms, and other amenities - Project
Managenrent, Structural Engineering Design - $550,000 construction cost.

2003 Clreddars Restaurant, Arlington, Texas - 11,500 sq. ft.
dining, kitchen, oftice, rest rooms, and other amenities - steel framing,
load bearing CMU, spread and continuous footings, stone veneer - Project
Managernent, Str‘uctural Engineering Design - $1.0 million construction
cost.

BR ARCHITECI‘S, lnc.
2007 N. Collins Blvd., Suite 507 0 Riclrar'dson, Texas 75080 0 P (972) 235~9308 ¢ F (972) 235-9388

 

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Project Resume

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Bradford Russcll, AIA, P.E.

BR Architeots, Inc.
Dccember 2013
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1999

Chucl<ic Cheesc Rcstaurant, Burnsville, Arizona - 11,000 sq. ft. '
dining, lcitchen, ofi"rce, rest rooms, and other amenities - Project
Managemcnt, Structural Engineering Design - $l .0 million construction
cost

Multi~family Design / Management:

2007

2007

1997

1996

Religious Design:
2000

2000

2010

Educational Design:
2003

1998

TownParc Apartrnent Cornplex, Amarillo, Texas - 150 units, 270,000 sq.
it. apartment complex »- Structural Construction Management/
Obsewation - $20 million construction oost.

Cityl’arc at Golden Tr'ianglc, Fort Worth, Texas - 312 units, 370,000 sq.
it. apartment complex - Structural Construction Management/
Observation - $30 million construction cost.

Arbors of Dentorr Apartment Complcx, Denton, Texas - 244 units,
180,000 sq. ft. apartment complex - Architeetur'al Design, Production and
Management - $9.8 million construction cost.

Hobl)y House Apartmcnt Complex, Austin, Texas - 200+ units apartment
complex - Aichitectural Design, Production and Management - $8 million
construction cost.

Crosspoint Clrurch, McKinney, Texas - 20,405 sq. ft. worship center -
classroom space, kitchcn, and support spaces with phased master plan -
Architectural Dcsign and Construction Administration - $2.5 million
construction cost.

Clrrist United Methodist Church, Plano, Texas -- 30,41 1 sq. f`t. classroom
education building with support spaces -- Architectural Design and
Construction Administration - $3.3 million construction costa

Trinity Presbyterian Church, Plano, Texas - Wind storm damage / steeple
replacement ~ Architectural Design, Construction Adrninistration, and
Struct'uial Engineering - $50,000 construction cost.

K. B. Pollc Elementary School, Dallas, Texas »- 35,000 sq. ft. classroom /
office addition - concrete and masonry construction, steel frame root`,
Architectural Design ~ $3.5 million construction cost.

Brownsville High School, Brownsville, Texas - 70,000 sq. ft. education
building -steel frame, CMU non-load bearing walls, concrete foundation -
Stt'uctural Engineering Design - $6 million construction cost.

BR ARCI'll'l`ECTS, lnc.

2007 N. Collins Blvd., Suite 507 0 Richardson, Texas 75080 0 P (972) 235~9308 ~ [" (972) 235-9388

 

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Project Resume

Bradford Russell, AIA, P.E.
BR Architeots, Inc.
December 2013

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Medical Design:

2006 Healthy Paws Vetcrinary Conter, Little Elm, Tcxas - 1,600 Sq. Et.
veterinary exam rooms and offices to an existing 4,500 sq. ft. veterinary
exam room building, wood frame structure - Arelritectursl Design,
Docurncntation, Structural Engineering Design, Documentation,
Construction Administration - $250,000 Construction Cost.

1997 Auburn Mcdicai Ofiice Building, Auburn, Washington - 70,000 sq'. ftv
office building for physicians, reinforced concrete and CMU structure -
Structural Engineet*ing Dosign ~ 510.5 million construction cost

1997 Bristol Regional Medicni Center, Bristol, TN - 100,000 sq. ti. medical
facility remodel, addition - Architect, Construction Adrninistrator - $9.8
million construction cost.

Interior Rcmodcl / Design:

2010 Greenl"reld I-`oose office remodel, Dallas, Tertas -- 25,000 sq. ft. building
foot print with 6,000 sq.ft. 2nd floor interior r'enrodel of existing metal
building space into office space - Architectural Design, Prodrtction,
and various S'tructural Engineering - $1,300,000 estimated construction
oost.

2007 RoughRiders Merchandise Pavilion, Frisco, Texas - 4,000 sq. ft. interior
finish out of existing space into retail space - Architectural Design,
Production, and Constr'uction Adrninistration » $340,000 construction cost.

2002 The Centrc for Dance, Richardson, Texas - 10,000 sq. ft. interior finish-
out cf existing office space into dance studio, oft'rocs, kitchen, restroorns -
Arclritectural Design, Production and Construetion Adrninistration -
$300,000 construction cost.

2000 Randstad North America, Fanncrs Branch, Texas ~ 4,200 sq. ft. oft“rces,
restrooms, conference r'ooins, interior i"rnish out - Ar‘chitectur'al Design
and Construction Administration - $180,000 construction cost.

Extcrior Remodel / Design:

2007 Galleria North, Dallas, Texas - 70,000 sq. t`t. floor area exterior veneer
redesign- Aroliitectural Dcsign ~ $l .5 million construction cost.

Varions Unique Arclritcctural & Structural Design:

2007 Routh Street Wine Cellar, Dallas, 'l`exas - 450 sq. i"t. underground wine
cellar - Structural Engineering Design, Documentation, and Management
~ $100,000 construction cost.

BR ARCHITECTS, Ilrc.
2007 N. Co|lins Blvd., Suite 507 ¢ Richardson, TEan 75080 0 P (972) 235-9308 ¢ F (972) 235-9388

 

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Project Resumo

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Bradford Russell, AIA, P.E.

BR Architects, Inc.
December 2013

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2006

2006

2006

Watcrmarl< Land Development, Wylie, 'l`exas - 500 ft. - Entry water
Feature - Structural Engineering Design, Docurnentation, and
Manageinent - $800,000 construction cost.

Hilton Tulsa Southern Hills, Tulsa, Ol<lalioma - 2,500 sq. ft. - pool
enclosure addition tc existing concrete structural frame ~ Structural
Enginecring Vcr'ii'ication, Design and Managemont ' $100,000
construction cost.

Res'idential Exercise Pavilion Saudi Arabian Prince, Dallas, Texas »- 500
sq. ft. addition - wood framed structure over concrete foundation built into
hillside - Architectural Design, Structural Engineering Design,
Documentation, and Managernent - $130,000 construction cost.

BR ARCHITECTS, lnc.

2007 N.Collins Blvd.,Suite507 o Richar‘dson,'l`cxas75080 ¢ P(972)235~9308 v F(972)235-9388

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C -51 49-14-H
Exhibit B

Proj ect Documents:

1)
2)

3)
4)
5)
6)
7)

_ 8>

,9)

Construction Document Project Manual dated 03-01-10,

PJSA ISD T-Stem Early College High School Phase 1 Renovations and
Additions 100% Construction Documents dated 02-24-10,

Thomas Jefferson Early College High School Phase II Renovations and
Additions Construction Documents dated 01-31~12,

AIA Document A101 - 2007 dated 05-04-10,

AIA Document B141 - 1997.dated 12-15-08,

ERO PJSA ISD School Assessments for Memorial Middle School dated
3-03-08,

Rimkus Consulting Grcup Structural Collapse Evaluation dated 01-21-
11, `

Frank Lam & Associates Structural Investigation of Partial Collapse of
the Main Building PJSA ISD dated 10-18-10,

Change Order #1 - (T~STEM) Early Col]ege High School dated 12-08-10,

10) Terracon - Property Condition Assessment - Memorial Middle School

dated 02-22-08,

11) ERO - Structural Report for Memorial Middle School dated 03-28-08,
12) Videotaped minutes of the Pharr San Juan Alamo ISD school board

meeting of 06-08-09.

Items 1, 4 - 11 attached Items 2, 3, and 12 available for inspection by any interested
party upon reasonable notice at the J. Ramirez Law Firm, 700 North Veterans Boulevard,
Ebony Park Suite B, San Juan, Tcxas 78589.'

 

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CoNSTRU<;_];g_m4 DocUMENT
PROJECT MANUAL

PSJA ISD T-STEM EARLY COLLEGE HIGH SCHOOL
(Old Memorial Middle School) - PHASE I

RENOVATIONS & ADDITIONS
PROJECT NO. 09007 - PSJA ISD CSP #09-10-006

 

PSJA Independent School District
601 E. Kelly, P.O. Box 1150
Pharr, Texas 78577

 

 

  

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VOLUME I
_ Project Information, Architectural and
Structural Divisions

 

DATE
March 01, 2010

A_R_QMI
ERO Architects
300 S. 8th Street
McAllen, Texas 7 8501
(956) 661-0400 office
(956) 661-0401 fax

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architecta

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PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL ERO Architects
(Old Memorla| Mlddle School) - PHASE | C_5149_14_H szA lsoprg];l:t#l:: '1%%)3;

RENOVATIONS AND ADD|TION!S
Pharr - San Juan - Alamo lndependent School District
SECT|ON 00 0107

SEALS PAGE

ERO ARCH|TECTS
ARCH|TEcTuRAL| ENG\NEER\NG
300 souTH 8TH sTREE'r
MCALLEN, TEXAS 18501

_ARCH|TECT: JESUS V. DELGADO, A.l.A.

 

 

 

PEREZ CONSULT|NG ENGINEERS _ _,.¢j;';;:.§,`;?';§\.§§§
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ENG|NEER- nAle PEREz, P. E. ‘J "~~`» \R§§f;§`

15r Z~ 2115-19

FRANK LAM & ASSOC|ATES, lNC.
sTRuc.'ruRAL ENG\NEER\NG
508 wEsT 15TH sTREET
AusTlN, TEXAS 18701

KE@(<=TRA'\'MMO_ Mo. F" 7-€"-1€‘
ENGINEER: FRANK LAN|, PE.

 

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PSJA lSD T- STEM EARLY COLLEGE HlGH SCHOOL

cold Memorial rvuddle schoen PHASE| C-5149-14_-H
RENOVATlONS AND ADDIT|ONS

Pharr - San Juan ~ Alamo |ndependent School D|strict

MEP SOLUT|ONS ENG!NEER|NG

M.E.P. ENGlNEERING

600 E, BEAUMONT AVENUE

MCALLEN, TEXAS 78501

F\€fu<,»rv-m ord NO. r*~ “1'!'~16

ENG|NEER: JAV|ER PENA, F.E. (MECHAN|CAL & PLUMB|NG)
ABRAM DOM|NGUEZ (ELECTR|CAL)

END OF SEALS PAGE

ERO Architects
Prqacho.OSOOT
PSJA lSD CSP #09-10-006

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PSJA lSD T-STEM EARL¥ COLLEGE HlGH SCHOOL ERO Arch|tects
(O|d Memor|a| Midd|e Schoo|) - PHASE l Project N°- 09007
RENOVAT|ONS AND ADD|T!ONS C_5149_14_H PSJA lSD CSP #09-10-006

Pharr - San Juan - A|amo |ndependent School District

SECT|ON 00 0111

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CONTRACT REQUIREMENTS

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00 0110 - TABLE OF CONTENTS
00 0115 - LIST OF DRAW|NG SHEETS

PSJA lSD |NV|TAT|ON TO SUBM!T B|D l PROPOSAL AND SPEC|AL COND|T|ONS

A. PSJA ISD GENERAL PROV|S|ONS
1. Bid Preparation and Submission Procedures
2 Statement of |nc|uslon /App|icabi|ity
3 Genera|
4. Contract Time Period

5. Addendum

6. Speciflcatlons

7 Bid Eva|uation and Award

8 Quantities

9. F’Mgincl

10. Prlcing

11. Sa|es Tax

12. Delivery and Transportation

13. Quality

14. Product |nspection, Testing, and Defective |tems

15. Samp|es

16. Warranties

17. Withdrawa| or Modiflcation of Bid

18. Substitutions

19. Deviations from |tem Specification or Genera| Terms and Conditions

20. Contract and Purchase Orders

21. lnvoices, Packing Lists, and Payment

22. Remedies for Non-Performance of Contract, and Termination of Contract

23. Force Majeure

24. Non-Co||usion Certification

25. Assignment - De|egation

26, Certifications regarding Lega|. Ethica|, and Other Nlatters

27. Equa| Emp|oyment Opportunity (EEO) Disc|osures

28. Venue

29. |ndemnification

30. Arbitration

31. Choice of Law

32. Vendor Year 2000 Comp|iance

33. Walver

34. |nterpretation - Paro|e Evidence

35. Right to Assurance

36. Extension / Non~Appropriation C|ause

37. Proposai Acceptance

38. |nsurance Requirements

39. |nsta||ation (when applicab|e)

40. |nquiries and |nterpretations

41. Evaluatlon Factors and Criteria

PSJA lSD FORMS

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PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL ERO Arch|tects
(O|d Memorlal M|ddle Schoo|) - PHASE | Pl°le°f NO- 090°7
RENOVATIONS AND ADolTloNs C_5149_14_H PSJA 130 CSP #09-1°-006

Pharr - San Juan - Alamo lndependent School District

B. Forms Check|ist (A|| Referenced Forms must be Signed and Submitted with Bid / Proposa|
or Bid / Proposa| will be considered Non-Responsive)
1 Form A: Notif“lcation to |nvitation to Bid
2 Form B: Deviations / _Comp|iance Signature Page
3 Form C: Fe|ony Convictions Disc|osure Statement
4. Form D: Anti-Co|'.usion / Bid Acknow|edgement C|ause
5. Form E: Conf|ict of lnterest Questionnaire
6. Form F: Suspension or Debarment Certificate
7 Form G: Historlca|ly Underuti|ized Business (HUB)
8 Form H: Texas Fami|y Code Certification
9. Form |: Dea|erships Listing
10. Form J: Out of State Certifications Page
11. Form K: No Bid / No Proposa| Rep|y Form
12. Form L: |nstruction to School District Contractors
13. Form M: Direct Deposit Form
14. Form N: Vendor Acknowledgement Form

00 3000 - AVA|LABLE PROJECT lNFORMATlON
GEOTECH|CAL lNVEST|GATlON REPORT
00 4100 - BlD FORM
00 5200 ~ AGREEMENT FORM - A|A DOCUMENT A101 - STANDARD FORM OF

 

` " §GFIEEMENT'BETWEEN'OWNER'&'CONTR`A'CTUR

00 7200 - GENERAL COND|T|ONS - A|A DOCUMENT A201 - GENERAL COND|T|ONS OF
CONTRACT FOR CONSTRUCTION

00 8200 - WAGE RATES
DlV|S|ON 1 -- GENERAL REQU|REMENTS

NOTE: REFERENCE PROJECT MANUAL VOLUME |l| FOR TECHN|CAL SPEC|F|CAT|ON
lNDEX FOR ASBESTOS ABATEMENT SPEC|F|CAT|ONS PROV|DED BY ENV|ROTEST LTD.
(PSJA lSD PROV|DED CONSULTANT AND SPEC|F|CAT|ONS)

01 1000 - SUMMARY

01 2000 - PR|CE AND PAYMENT PROCEDURES

01 2100 - ALLOWANCES

01 2200 ~ UN|T PR|CES

01 2300 - ALTERNAT|VES

01 3000 - ADM|N|STRAT|VE REQU|REMENTS

01 3216 - CONSTRUCT|ON PROGRESS SCHEDULE

01 4000 - QUAL|TY REQU|REMENTS

01 5000 - TEMPORARY FAC|L|T|ES AND CONTROLS

01 5713 - TEMPORARY EROS|ON AND SED|MENTATION CONTROL
01 6000 - PRODUCT REQU|REMENTS

01 7000 - EXECUT|ON AND CLOSEOUT REQU|REMENTS

01 7419 - CONSTRUCT|ON WASTE MANAGEMENT AND D|SPOSAL
01 7800 - CLOSEOUT SUBM|TTALS

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PSJA lSD T~STEM EARLY COLLEGE HlGH SCHOOL ERO Archltects
(O|d Memorial Middle School) ~ PHASE l P\'¢>|¢+ct N°-_OWW
RENovAT10Ns AND Annlrlcms C_514?_14_H PSJA 'SD CSP #°9-1°~°°6
Pharr - San Juan - A|amo |ndependent School Distrlc

D|V|SION 2 -- SITE CONSTRUCT|ON

NQ_T_E.L REFERENCE PROJECT MANUAL VOLUME l| FOR TECHN|CAL SPEC|F|CATION
INDEX FOR ClVlL SPECIF|CAT|ON SECT\ONS PROV|DED BY (PCE) PEREZ CONSULTING
ENG|NEERS, LLC

02 2000 - SlTE PREPARATION
02 4100 - DEMOL|T|ON
D|V|SlON 3 -- CONCRETE

NOTE: STRUCTURAL SPEC|F|CAT|ON SECTIONS PROV|DED BY (FLA)* FRANK LAM &
ASSOC|ATES

03 0130.75 - CONCRETE REPA|R (FLA)*

03 1000 - CONCRETE FORM|NG AND ACCESSOR|ES (FLA)*
03 2000 - CONCRETE RE|NFORC|NG (FLA)*

03 3000 - CAST-lN-PLACE CONCRETE (FLA)*

03 3900 ~ CONCRETE CUR|NG (FLA)*

03 5216 - L|GHTWE|GHT lNSULAT|NG CONCRETE (FLA)*

 

 

03 5400 - CAST UNDERLAYMENT (FLA)*
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04 0100 - MAlNTENANCE OF MASONRY
04 0511 - MASONRV MORTARING AND GROUT|NG
04 2000 - UN|T MASONRY
04 2731 - RE|NFORCED UN|T MASONRY
04 7200 - CAST STONE MASONRY
D|VlSlON 5 -- METALS

NOTE: STRUCTURAL SPEC|F|CAT|ON SECTIONS PROV|DED BY (FLA)* FRANK LAM 81
ASSOC\ATES

05 1200 - STRUCTURAL STEEL FRAM|NG (FLA)*
05 2100 - STEEL JO|ST FRAM|NG (FLA)*
05 3100 - STEEL DECK\NG (FLA)*
05 4000 - COLD-FORMED METAL FRAM|NG (FLA)"‘
05 5000 - METAL FABR|CAT|ONS (FLA)*
05 5100 - METAL STA|RS
05 5134 - ALUM|NUM LADDERS
05 5213 - PlPE AND TUBE RA|L|NG
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06 0587 - HlGH PRESSURE DECORATIVE LAM|NATES
06 1000 - ROUGH CARPENTRY

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PSJA lsD T-sTEM EARLY coLLEGE HlGH scHooL eRo mcnamara
(old Memorlal Mlddle schoen - PHASE l Project No. 09001
RENOVATloNs AND ADD|TIoNs C 5149_14_H PSJA lSD CSP #°9-1°'°06

Pharr - San Juan - Alamo \ndependent School D-|str|ct
06 1054 - WOOD BLOCK|NG AND CURB|NG
06 2000 - FlNlSH CARPENTRY
06 4100 - CUSTOM CAB|NETS
06 4216 - WOOD VENEER RA|SED PANEL WA|NSCOT
06 6510 - SOL|D SURFACE FABR|CAT|ON
D|V|S|ON 7 -- THERMAL AND MO|STURE PROTECT|ON
07 1360 - DRA|NAGE WATERPROOF|NG
07 1400 - FLUlD-APPL|ED WATERPROOF|NG
07 1900 - WATER REPELLENTS
07 2100 - THERMAL lNSULAT|ON
07 2400 - EXTER|OR |NSULAT|ON AND FlN|SH SYSTEN|
07 4113 - METAL ROOF PANELS
07 4646 - F|BER CEMENT S|D|NG
07 5300 - COAL-TAR ELASTOMER|C ROOF|NG SYSTEM (Armko)

 

 

07 6000 - sHEET METAL & Mlsc. AccEssoRlEs FoR coAL-TAR ELAsToMERlc
RooFlNG sYsTEM (Armko)

07 6110 - SHEET METAL SOFF|T
07 6500 - THROUGHWALL FLASH|NG SYSTE\V| (Armko)
07 7200 - ROOF ACCESSOR|ES
07 8400 - FlRESTOPPlNG
07 9005 - JO|NT SEALERS & SEALANTS
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08 1113 - STEEL DOORS AND FRAMES
08 1210 - ALUM\NUM lNTERlOR DOOR FRAMES
08 1423 - ALUM|NUM CLAD WOOD COMMER|AL DOORS
08 1433 - ST|LE AND RA|L WO0D DOORS
08 3100 - ACCESS DOORS AND PANELS
08 3323 - OVERHEAD CO|L|NG DOORS
08 4100 - ALUM|NUM ENTRANCES AND STOREFRONTS
08 4410 - GLAZED ALUM|NUM CURTA|N WALL
08 5213 - ALUM|NUM CLAD WOOD DOUBLE HUNG WINDOWS
08 7100 - DOOR HARDWARE & HARDWARE SCHEDULE (AsSaIAbloy)
08 8100 - GLASS
08 8300 - M|RRORS

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PSJA lSD T-sTEM EARLY coLLEGF. HlGH scHooL eRo Ar¢hnecw
(O|d Memorial Midd|e Schoo|] - PHASE l Project NO- 09007
RENovATloNs AND ADDlTlONs C.5149-14_H PSJA lSD CSP #°9-10-006

Pharr - San Juan - Alamo lndependent'School Dlstrlct
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09 3000 - TlLlNG
09 3001 - T|LE EDGE PROTECT|ON
09 5100 - SUSPENDED ACOUST|CAL CE|L|NGS
09 5114 - FABRlC-FACED ACOUST|CAL CE|L|NGS
09 5470 - METAL T|LE CE|L|NG SYSTEM
09 5700 - ACOUST|CAL WOOD CE|L|NG SYSTEM
09 6423 - HARDWOOD FLOOR|NG - ADHES|VE APPLlED
09 6500 - RES|L|ENT FLOOR|NG (RUBBER)
09 6501 - RESIL|ENT (RUBBER) FLOOR T|LE, BASE AND STA|R TREADS
09 6800 - CARPET|NG
09 9000 - PA|NT|NG AND COAT\NG
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10 1 101 - VlSUAL DlSPLAY BOARDS
10 1424 - PLAST|C SlGNS _
10 2113 - PLAST|C TO|LET COMPARTMENTS
10 2123 - CUB|CLES
10 2601 - WALL AND CORNER GUARDS
10 2813 - TO|LET ACCESSOR|ES
10 4260 - CAST METAL PLAQUES
10 4400 - F|RE EXT|NGU|SHERS, CAB|NETS AND ACCESSOR|ES
10 5613 - METAL STORAGE SHELV|NG
10 7500 - FLAGPOLES
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11 0500 - LIBRARY ART|CLE SURVE|LLANCE SYSTEM
11 5213 ~ PROJECT|ON SCREENS
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12 2113 - HOR|ZONTAL LOUVER BLlNDS
12 4940 - ROLLER SHADES
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14 2100 - ELECTR|C TRACT|ON ELEVATORS

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PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL ERO Archlteccs
(Old Memorla| Midd|e Schoo|) - PHASE l Pl‘°]@¢t N°- 09007
RENOVAT|oNs ANo ADDlTloNs C-5149-14-H PSJA 'SD CSP #°9-1°'°°6
Pharr - San Juan - Alamo lndependent School District

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00010 - TABLE OF CONTENTS (ERO)
00007 - SEAL PAGE (ERO)

D|VlS|ON 22 -- PLUMB|NG

NOTE: REFERENCE PROJECT MANUAL VOLUME l|| FOR TECHN|CAL SPEC|F|CAT|ON
lNDEX FOR MECHAN|CAL, ELECTR|CAL & PLUMB|NG SPEC|F|CAT|ON SECT|ONS
PROV|DED BY (MEPSE) MEP SOLUT|ONS ENG|NEER|NG

D|VlSION 23 -- HEATING VENT|LAT|NG AND AlR COND|T|ON|NG

NOTE: REFERENCE PROJECT MANUAL VOLUME lI| FOR TECHN|CAL SPEC|F|CAT|ON-
lNDEX FOR MECHAN|CAL, ELECTR|CAL & PLUMB|NG SPEC|F|CATION SECT|ONS
PROV|DED BY (MEPSE) MEP SOLUT|ONS ENG|NEER|NG

DlV|S|ON 26 -- ELECTR|CAL

NOTE: REFERENCE PROJECT MANUAL VOLUME ll| FOR TECHN|CAL SPEC|F|CAT|ON
lNDEX FOR MECHAN|CAL, ELECTR|CAL & PLUMB|NG SPEC|F|CAT|ON SECT|ONS
PROV|DED BY (MEPSE) MEP SOLUT|ONS ENG|NEER|NG

D|V|SlON 27 - COMMUN|CAT|ONS

NOTE: REFERENCE PROJECT MANUAL VOLUME l|| FOR TECHN|CAL SPEC|F|CAT|ON
lNDEX FOR MECHAN|CAL, ELECTR|CAL & PLUMB|NG SPEC|F|CAT|ON SECT|ONS
PROV|DED BY (MEPSE) MEP SOLUT|ONS ENG|NEER|NG

D|V|SlON 28 -- ELECTRON|C SAFETY AND SECUR|TY

NOTE: REFERENCE PROJECT MANUAL VOLUME ll| FOR TECHN|CAL SPEC|F|CAT|ON
lNDEX FOR MECHAN|CAL, ELECTR|CAL & PLUMB|NG SPEC|F|CAT|ON SECT|ONS
PROV|DED BY (MEPSE) MEP SOLUT|ONS ENG|NEER|NG

NOTE: REFERENCE PROJECT MANUAL VOLUME ||l FOR TECHN|CAL SPEC|F|CAT|ON
lNDEX FOR ASBESTOS ABATEMENT SPEC|F|CAT|ONS PROV|DED BY ENV|ROTEST LTD.
(PSJA lSD PROV|DED CONSULTANT AND SPEC|F|CAT|ONS)

§BE§IE|QAI|_QNS_EQELASB.ESIQS_ABAIEMENT_(ENMLBDI§SD
TABLE OF CONTENTS (ENV|ROTEST)
APPEND|X A: DEF|N|T|ONS (ENV|ROTEST)
APPEND|X B: APPL|CABLE STANDARDS AND GU|DEL|NES (ENV|ROTEST)
APPEND|X C: ACM SURVEY (ENV|ROTEST)
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PSJA isn T-s'rEM EARLY coLLEGE HlGH scHooL ERo Arcmw¢u
(old Memorla\ mdde schoen - PHASEI Proiecr No. 09001
RENovATloNs AND AoDlTloNs 0_5149-14.|-| PSJA 'SD CSP #°9'1°-°°°

Pharr - San Juan - A|amo |ndependent School Dlstrlct

SECTION 00 0115

 

 

L|ST OF DRAW|NG SHEETS

GENERAL:
ERO ARCH|TECTS: VOLUME l
Gl001 COVER SHEET
Gl101 CODE ANALYS|S
Gl201 ACCESS|B|LTY REQU|REMENTS
Gl202 ACCESS|B|L|TY REQU|REMENTS
Gl203 ACCESS|B|L|TY REQU|REMENTS

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AD103 ENLARGED SlTE DEMOL|T|ON PLAN
AD104 SlTE DEMOLIT|ON PHOTOS
AD105 BAND HALL AND DRESS|NG ROOM DEMOL|T|ON PHOTOS
AD201 COMPOS|TE DEMOL|T|ON BU|LD|NG PLANS
AD202 DEMOLIT|ON BASEMENT FLOOR PLANS
AD203 COMPOS|TE FlRST FLOOR DEMOL|T|ON PLAN
A0204 DEMOL|T|ON FlRST FLOOR PLAN - AREA 'A' (CORE)
AD205 DEMOL|T|ON FlRST FLOOR PLAN - AREA 'B' & 'C' (EAST & WEST WlNGS)
AD206 DEMOL|TlON FlRST FLOOR PLAN - AREA 'B' & 'C' (EAST & WEST W|NGS)
AD207 COMPOS|TE SECOND FLOOR DEMOL|T|ON PLAN l
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AD209 DEMOL|T|ON SECOND FLOOR PLAN - AREA 'B' & 'C' (EAST & WEST W|NGS)
AD210 COMPOS|TE DEMOL|TION ROOF PLAN
AD211 DEMOL|T|ON ROOF PHOTOS

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DP104

 

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PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL ERO Archltects
(Old M¢irnor|al Middle Schoo!} - PHASE l Pl'°l°°t N°- 09°°7
RENovAT\oNs AND AnanloNs C-5149-14-H PSJA ‘S° CSP #°"1°'°°6
Pharr - San Juan - Alamo lndependent School Dlstrlct

AD301 DEMOL|T|ON EXTER|OR ELEVAT|ONS & PHOTOS- NORTH

AD302 DEMOL|T|ON EXTER|OR ELEVAT|ONS & PHOTOS- EAST

AD303 DEMOL|T|ON EXTER|OR ELEVAT|ONS & PHOTOS- SOUTH

AD304 DEMOL|T|ON EXTER|OR ELEVAT|ONS & PHOTOS- WEST

AD305 DEMOL|T|ON EXTER|OR ELEVAT|ON & PHOTOS- VAR|OUS

AD306 DEMOL|T|ON BU|LD|NG SECT|ONS & PHOTOS

AD307 DEMOL|T|ON BU|LD|NG SECT|ONS & PHOTOS

AD308 DEMOL|T|ON BU|LDING SECT|ONS & PHOTOS

AD309 DEMOL|T|ON BU|LD|NG SECT|ONS & PHOTOS

AD310 DEMOL|T|ON BU|LD|NG SECT|ONS & PHOTOS

AD311 DEMOL|T|ON BU|LD|NG SECT|ONS & PHOTOS

AD312 DEMOL|T|ON BU|LD|NG SECT|ONS & PHOTOS

..________MEQI:|AN.|QAL,_ELECIRLQAL,_ELL[MB|NG - DEMOL|T|ON
MEP soLuTloNs ENG|NEER|NG: voLuME ll

DEMOL|T|ON MECHAN|CAL - BASEMENT FLOOR PLAN
DEMOL|T|ON MECHAN|CAL - FlRST FLOOR PLAN
DEMOL|T|ON MECHAN|CAL - FlRST FLOOR PLAN
DEMOL|T|ON MECHAN|CAL - SECOND FLOOR PLAN
DEMOL|T|ON ELECTR|CAL LlGHTlNG - BASEMENT FLOOR PLAN
DEMOL\T|ON ELECTR|CAL LlGHTlNG - FlRST FLOOR PLAN
DEMOL|T|ON ELECTR|CAL LlGHTlNG - FlRST FLOOR PLAN
DEMOL|T|ON ELECTR|CAL LlGHTlNG - SECOND FLOOR PLAN
DEMOL|T|ON ELECTR|CAL POWER - BASEMENT FLOOR PLAN
DEMOL|T|ON ELECTR|CAL POWER - FlRST FLOOR PLAN
DEMOL|T|ON ELECTR|CAL POWER - FlRST FLOOR PLAN
DEMOL|T|ON ELECTR|CAL POWER - SECOND FLOOR PLAN
DEMOL|T|ON PLUMB|NG - BASEMENT FLOOR PLAN
DEMOL|T|ON PLUMB|NG - FlRST FLOOR PLAN

DEMOL|T|ON PLUMB|NG - FlRST FLOOR PLAN

DEMOL|T|ON PLUMB|NG - SECOND FLOOR PLAN

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PSJA lsD T-s'rEM EARLY coLLEGE HlGH scHooL ERO Architects
(Old Memor|al Mldd|e School) - PHASE l F’r<=’l@ct N°- °9°°7
RENOVATloNs AND ADDlTloNs C-5149-14-H PSJA 'SD CSP #°9'1°'°°°

Pharr ~ San Juan -Alamo lndependent School District

 

 

CE101 OVERALL SlTE PLAN

CE102 DlMENSION CONTROL PLAN
CE103 D|MENSlON CONTROL PLAN
CE104 GRAD|NG & DRA|NAGE PLAN
CE105 GRAD|NG & DRA|NAGE PLAN
CE106 UT|L|TY PLAN

CE107 PLAN & PROF|LE

CE108 PLAN & PROF|LE

CE109 PLAN & PROF|LE

CE110 F|R STREET/U.S. BUS|NESS 83 lNTERSECT|ON LAYOUT
CE111 ClVlL DETA|LS

CE112 ClVlL DETA|LS

CE113 ClVlL DETA|LS

CE114 ClVlL DETA|LS

CE115 ClVlL DETA|LS

CE116 ClVlL DETA|LS

CE1 17 ClVlL DETA|LS

CE118 TXDOT STANDARD DETA|LS
CE119 TXDOT STANDARD DETA|LS
CE110 TXDOT STANDARD DETA|LS
CE121 TXDOT STANDARD DETA|LS
CE122 TXDOT STANDARD DETA[LS
STRUCTU RAL

FRANK LAM & ASSOC|ATES: VOLUME l|
3101 BASEMENT PLAN

S102 FOUNDAT|ON PLAN

S103 SECOND FLOOR FRAM|NG PLAN
S104 MEZZAN|NE FRAM|NG PLAN
S105 ROOF FRAM|NG PLAN

S106 L|BRARY PLANS

S109 FRAM|NG DETA|LS
ARCH|TECTURAL

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PSJA lsD T-sTEM EARLY coLLEGE HlGH scHooL ERo Archnem
(Old Memor|al M|ddie School] - PHASE | Pro|ect No. 09007
RENovATloNs AND AnDlTloNs C-5149-14-H PSJA 'SD CSP #°9-1°-°°6

Pharr - San Juan - A|amo Independent Schc`)ol District

ERO ARCH|TECTS: VOLUME l

 

 

 

 

As101 coMPoslTE cAMPus slTE PLAN

As102 ENLARGED ARcHlTEcTuRAL slTE PLAN

As103 ENLARGED ARcHlTEcTuRAL slTE PLAN

AE101 co`MPosrrE BulLD\NG PLANS

AE102 BASEMENT FLooR PLAN

AE103 coMPoslTE FlRST FLooR PLAN

AE104 FleT FLooR - AREA 'A' (coRE)

AE105 FlRST FLooR - AREA'B' & 'c' (EAST & WEST wlNGs)

AE106 FlRST FLooR - AREA 'D' (LlBRARY)

AE107 colleoslTE sEcoND FLooR PLAN

AE108 sEcoND FLooR PLAN - AREA 'A' (coRE)

AE109 sEcoND FLooR - AREA 'B' & 'c' (EAST & wEsT wlNGs)

AE110 comgoslTE &;EL§QL§Q cElLlN§_PLANs H

AE111 BASEMENT REFLECTED cElLlNG PLAN

AE112 coMPos\TE FlRST FLooR REFLEcTED cElLlNG PLAN

AE113 FlRST FLooR - AREA 'A' (coRE) - REFLEcTED cElLlNG PLAN

AE114 FlRST FLooR - AREA 'B' & 'c' (EAST & wEsT wlNGs) - REFLEcTED cElLlNG

PLAN

AE115 F\RsT FLooR -AREA 'D' -(LlBRARY) REFLEcTED cElLlNG PLAN

AE116 coMPoslTE sEcoND FLooR PLAN - REFLEcTED cElLlNG PLAN

AE117 sEcoND FLooR PLAN - AREA 'A' (coRE) - REFLEcTED cE\LlNG PLAN

AE11a sEcoND FLooR - AREA 'B' & 'c' (EAST & wEsT wlNGs) - REFLEcTED
cElLlNG PLAN

AE119 coMPoslTE RooF PLAN

AE120 RooF PLAN -AREA 'A'

AE121 RooF PLAN - AREA 'B' AND 'c'

AE122 RooF PLAN - AREA 'D'

AE201 NORTH & wEsT ExTERloR BulLDlNG ELEvATloNs

AE202 souTH & EAST ExTERloR BulLDlNG ELEvA'rloNs

AE203 lNTERloR ELEvATloNs AND DETA|LS

AE204 lNTERloR ELEvATloNs AND DETA|LS

AEzos lNTER\oR ELEvATloNs AND DETA|LS

AE301 Buch)lNG sEchoNs

AE302 BulLDlNG sEchoNs

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AE602
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AE604
AF101

 

 

PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL

(Old Memorial Mlddla School] - PHASE l

RENOVATloNs AND AnDlTloNs C-5149-14-H
Pharr - San Juan - A|amo |ndependent School Dlstrlct

BU|LD|NG SECT|ONS

BU|LD|NG SECT|ONS

BU|LDlNG SECT|ONS

DETA|LS

DETA|LS

DETA|LS

DETA|L`S

PART|T|ON TYPES

PAR|T|ON TVPES

ENLARGED TO|LET ROOM PLANS & ELEVAT|ONS
ENLARGED TO|LET ROOM PLANS AND ELEVATlONS
ENLARGED CLASSROOM PLANS AND ELEVAT|ONS
ENLARGED CLASSROOM PLANS AND ELEVAT|ONS

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ENLARGED PLANS AND ELEvA'rloNs
ENLARGED PLANS AND ELEVATloNs
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RooF DETAll_s

RooF nE‘rAlLs

wA`TERPRooFlNG nETAlLs
wATERPRooFlNG DETAll.s
wATERPRooFlNG DETAlLs

cElLlNG DETAll_s

cElLlNG DETAlLs

cElLlNG AND ExPANsloN 'JolNT DETA|LS
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ELEVATED DooR ANn wlNl)ow TYPES
ELEVATEl:> DooR AND wlNDow TYPEs
FlleH scHEDuLE

MECHAN|CAL, ELECTR|CAL, PLUMB|NG
MEP sol_uTloNs ENGlNEERlNG: vol.ulle ll

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ERO Arch|tocts
Pro|ect No. 09007
PSJA lSD CSP #09-10-006

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PSJA ISD T-STEM EARLY COLLEGE HlGH SCHOOL ' ERO Arch|tects
(Old Memorlal Mlddle SChOOI} - PHASE l FY°]°°t N°~ 090°7
RENOVAT|QNS AND ADD|T|QNS C-5149-14-H PSJA lSD csP #09-10-006

Pharr - San Juan - Alamo lndependent School District

 

MS100 M.E.P. SlTE PLAN

ME101 MECHAN|CAL - BASEMENT FLOOR PLAN

ME102 MECHAN|CAL - FlRST FLOOR PLAN

ME103 MECHAN|CAL - FlRST FLOOR PLAN

ME104 MECHAN|CAL - SECOND FLOOR PLAN

ME105 CH|LLED WATER P|PlNG PLAN

ME106 ENLARGED CENTRAL PLANT AND MEZZAN|NE

ME201 MECHAN|CAL CH|LLED WATER FLOW DlAGRAM

ME301 MECHAN|CAL CONTROL DRAW|NGS

ME401 MECHAN|CAL SCHEDULES

ME402 MECHAN|CAL SCHEDULES

ME403 MECHAN|CAL SCHEDULES

ME404 MECHAN|CAL SCHEDULES

-__--_----_~_--|'i\}EEC|!\v -~ MECHAN|CAL,DETA|LS 9

ME502 MECHAN|CAL DETA|LS

EL101 ELECTR|CAL LlGHTlNG - BASEMENT FLOOR PLAN

EL102 ELECTR|CAL LlGHTlNG - FlRST FLOOR PLAN

EL103 ELECTR|CAL LlGHTlNG - FlRST FLOOR PLAN

EL104 ELECTR|CAL LlGHTlNG - SECOND FLOOR PLAN

EP105 ELECTR|CAL POWER - BASEMENT FLOOR PLAN

EP106 ELECTR|CAL POWER - FlRST FLOOR PLAN

EP107 ELECTR|CAL POWER - FlRST FLOOR PLAN

EP108 ELECTR|CAL POWER - SECOND FLOOR PLAN

EP109 ELECTR|CAL LlGHTlNG AND POWER MEZZAN|NE - SECOND FLOOR PLAN

EP110 ELECTR|CAL - MECHAN|CAL AND PLUMB|NG EQU|PMENT LOCAT|ON -
BASEMENT FLOOR PLAN

EP111 ELECTR|CAL - MECHAN|CAL AND PLUMB|NG EQU|PMENT LOCATION - FlRST
FLOOR PLAN

EP112 ELECTR|CAL - MECHAN|CAL AND PLUMB|NG EQU|PMENT LOCAT|ON - FlRST
FLOOR PLAN

EP113 ELECTR|CAL - MECHAN|CAL AND PLUMB|NG EQU|PMENT LOCAT|ON -

SECOND FLOOR PLAN

EP201 ELECTR|CAL LEGEND

EP202 ELECTR|CAL RlSER DlAGRAM AND SCHEDULES

EP205 ELECTR|CAL - MECHAN|CAL EQU|PMENT CONNECT|ON SCHEDULE

EP206 ELECTR|CAL PANEL SCHEDULES

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PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL

(Old Mernoria| Middle School) - PHASE l

RENovATloNs AND ADDlTloNs C-5149-14-H
Pharr - San Juan - Alamo lndependent School Distrlct

EP207
EP208
EP209
EP210
EP301
EP302
PL101
PL102
PL103
PL104
PL105
PL106
PL107

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PL201
PL301
PL401

ELECTR|CAL PANEL SCHEDULES
ELECTR|CAL PANEL SCHEDULES
ELECTR|CAL PANEL SCHEDULES
ELECTR|CAL PANEL SCHEDULES
ELECTR|CAL DETA|LS

ELECTR|CAL DETA|LS

PLUMB|NG SEWER - BASEMENT FLOOR PLAN
PLUMB|NG SEWER - FlRST FLOOR PLAN
PLUMB|NG SEWER - FlRST FLOOR PLAN
PLUMB\NG SEWER - SECOND FLOOR PLAN
PLUMB||NG HW/CW - BASEMENT FLOOR PLAN
PLUMB|NG HW/CW - FlRST FLOOR PLAN
PLUMB|NG HWICW - FlRST FLOOR PLAN

ERO Archltects
Project No. 09007
PSJA lSD CSP #09-10-006

 

PLUMB|NG ROOF - FLOOR PLAN
PLUMB|NG DETA|LS
PLUMB|NG SCHEDULES

END OF L|ST OF DRAW|NGS

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Pharr --San juan - Aiamo
C_514gndependent School District

URCHASING DEPARTMENT

l sJA _ Larry Doeppenschmidt, Purchasing Coordinator

lNV|TAT|ON TO SUBM|T BlD/ PROPOSAL AND SPEC|AL CONDIT|CNS:

Competitive Seai`ed Bid / Proposai are being solicited for the merchandise, supplies, services and / or
equipment as set forth in this bid / proposal invitation. Bid / Proposai are being solicited on behalf of
all present and future members of the District.

 

 

 

Sea|ed bid / proposal can be hand-delivered in to the Business Office / Purchasing Department of the
Pharr-San Juan-A|amo independent School District at 601 E. Keiiy Street Room # 249, or can be mailed
to P.O. 'Box 769, Pharr, Texas 78577. Ali bid / proposal must be received at 601 E. Ke||y Street Room #
249, Pharr, Texas 78577 / A`I'|'N: PURCHASING Q§PAB_TMENT by ¢li:l'.iQP.iir'i.l ‘li'ii'EDi\|ES[HJ\Yl MARCH 2¢5|-ll
g_CLi.__Ql at which time bid / proposal will be opened in the PSJA Business Office / Finance Departm'ent
Conference Room # 205.

Bid / Proposai must be plainly marked on the outside of the envelope iZ'Si£ll i§D T-STEiiii EARLY COLL§§E
H!§H SCHDO|. iOi.D MEN|_QR!&L M|QDLE SCHOOLl - PHASE 1 RENOVAT!GNS AND ADD|TiON§

 

 

 

'*"COMPET|T|VE`SE'A§ED“BiD"#'UQ=IU=DQG. '*

in case of mailed bid / proposal or any correspondence concerning the bid / proposal, the district will
not be held responsible for missent, lost or late mail. Any bid / proposal not delivered directly to the
Purchasing Department by the deadline for submitting the bid / proposa|, will be considered not timely
filed and therefore, will be disqualified

BB§-BiD §ONFERENCE: There will be a ”Pre-Bid Conference” conducted at the PSJA Administratlon
Building / Finance Department - Conference Room # 205, located at 601 E. Kelly, Pharr, Texas 78'577,
on TUESDAY N|A 10 2:3 P N'i

NO FAXED BlD / PROPOSAL WlLL BE ACCEPTED. LATE OR iNCOlViPLETE BlD / PROPOSAL WlLL BE
CONS|DERED NON-RESPONS|VE / NON-CONFORN||NG§ BlD / PROPOSAL lVIUST BE SUBN||'ITED lN A
SEALED ENVELOPE AND MARKED PROPERLY WlTH THE BlD / PROFOSAL lNVlTATiON NUMBER,
PRODUCT CATEGORY, OPEN||NG DATE AND TIN|E.

**lt ls the vendor's responsibility to view the web page regulariy, or prior to submitting a response,
to ensure that no addendum or additional information has been issued for the solicitation. Please

visit our website at hgp:£{psia.schgglfgsiog.us.**

Bid / Proposal may be withdrawn prior to the opening date and t`lrne, but only in accordance with
Section 17 of the Genera| Terms and Conditions Document entitled ”Withdrawai or l\/iodification of
Bid”.

No Federal or State Tax is to be included in the bid / proposal price.
Ali prices bid/proposed must be F, O. B. Pharr, Texas.

Sincereiy,

Larry Doeppenschmidt,

Purchasing Coordinator

lt is the policy or the Pharr-San juan-Aiamo lSD not to discriminate on the basis 01 se)<, disability, race, coior, religion, national origin or a§
PS]A Adminlstration Office / f‘.O. Box 769 ,i 601 E. Keliy/ Pharr, Tean 78577 / `l'e|ephone (956) 354-2 000/ Fax (956) 783-22 57

 

 

 

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C-5149-14-H
PHARR-SAN JUAN-ALAMO |.S.D.

PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL (OLD lVlE|VlORlAL lVliDDLE SCHOOL) .-
PHASE 1 RENOVAT|ONS AND ADDIT|ON$ COMPET|T|VE SEALED BlD # 09-10-006
BlD OPEN|NG: MARCH 24, 2010 @ 4:00P.lVl.

A. Gen'erol Provl‘sions

1. Bid Preparation and _Submis`sion Procedures:

Sealed bids will be received until the deadline indicated in the Notice of invitation to
Bid. Each bid must be submitted in a SEALED opaque envelope (or other non-
transparent package or container). The outside of the bid envelope (or other package or
container) must bear the following information in clear and legible form:

a) in the upper left-hand corner: print the full name and address of the bidding
entity, and the name and telephone number, including the area code, of the
person to contact with questions about the bid submission, and

b) in the lower left-hand corner: ”SEALED BlD," the bid name, bid number, and
submission deadline indicated on the Notlce of invitation to Bid.

Bids may be submitted by U. S. i\/iail, common carrier, or other courier or delivery
service, or by hand delivery. if forwarded by mail or other courier or delivery service, the
sealed bid envelope, identified as indicated above, should be enclosed in another
envelope addressed as specified below. The Pharr-San Juan~Alarno |.S.D. (herelnafter
called "District") will not be responsible for bids or related correspondence that are
missent, misdelivered, or misplaced. The date/time record of the Purchasing
Department will be the official time of receipt.

Bids should be addressed and delivered to the following:

PHARR-SAN 1UAN-ALAN|O. |.S.D.
PURCHAS|NG DEPARTlVlENT
P.O. BOX 769 / 601 E. KELLY, ROOiVl # 249
PHARR, Tx 78577
ATTN: LARRY DOEPPENSCHM|DT
(956) 354-2000 / TELEPHONE NUMBER
(956) 783-2257 / FAX NUMBER
ldoeppensch_midt@ps]a.klZ.tx.us - EN|A|L ADDRES`S

Bids which are opened prior to the bid opening because of failure to adhere to the
above addressing and identification criteria will not be considered and will not be
returned. Bids received after the deadline will not be accepted for consideration, and
will be returned unopened. Bids received in an unsealed condition will not be
considered and will not be returned. Faxed bids or related communications will not be
accepted.

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C-5149-14-H
PHARR-SAN JUAN-ALAN|O |.S.D.
PSJA |SD T-STEN| EARLY COLLEGE HlGH SCHOOL (.OLD MEN|OR|AL lVliDDLE SCHOOL) ~
PHASE 1 RENOVAT|ONS AND ADD|T|ONS COMPET|T|VE SEALED BlD # 09-10-006
BlD OPENING: MARCH 24, 2010 @ 4:00P.Nl.

A representative of the bidding entity who is authorized to enter into contracts on
behalf of the bidding entity must manually sign bids in ink. The person signing the bid
must indicate his/her title along with signature Bids received without proper signature
will not be considered

Bidders must return all original documents required in the bid response. Bidders should
retain photocopies for their files. Any change made to any written response on any of
the bid documents must be made in ink by marking through the original entry and
clearly entering the new information alongside the change. Changes must not be made
with correction fluid. Ali changes must be "ini.tial'ed" by the person making the change,
and the name of the person who initialed the change must be noted in a footnote on
the same page containing the correction. Failure to return any document or information
requested as part of the bid response may resultin the rejection of the en_tire bid. m

 

 

Bidders or their authorized representatives are expected to fully inform themselves as
to the terms, conditions, requirements and specifications of this Bid invitation before
submitting bids. Faiiure to do so will be at the bidder’s own risk. The law makes no
allowance for errors of omission or commission on the part of bidders; furthermore, the
bidder cannot secure \ relief on the plea of error or ignorance concerning any
requirement included in the Bid invitation.

Vendors who do not bid on this particular b|d, but who want to remain on our bid list for
future opportunities in this product category should complete, sign, and submit the
signature sheet entitled “NO BlD REPLY FOR|V|" indicated on the face of the sheet.

Bidders are welcome to attend the bid opening at the date and time indicated in the
Notice of invitation to Bid, but bidder presence is not required, and no weight or other
consideration toward any award decision will be given to any bidder’s attendance or
absence at the bid opening Recaps of the details of the bids received will be available to
any interested party upon WR|T|’EN request. The form and content of the bid recaps
will be at the sole discretion of the Dlstrict. They may be in electronic form,

2. Statement of inclusion / Applicabi|ity:

These G.enera| Terms and Conditions are applicable to all Bid invitations issued by the
District, and by this inciusion, they become an integral part of any contract which is
awarded, or purchase order which is issued in association with this Bid invitation.

 

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PHARR-SAN ]UAN-ALAMO |.S.D.
PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL (OLD MEN|OR|AL MlDDl.E SCHO_OL) -
PHASE 1 RENOVAT|ONS AND ADD\T|ONS CO|V|PET|T|VE SEALED BlD # 09-10-006
BlD OPEN|NG: MARCH 24, 2010 @ 4:00P.Nl.

3. General:

The section titles contained in this General Terms and Conditions document are for
convenience and reference only, and in no way define, describe, extend, or limit the
scope or intent ofthe provisions of any section of this documentl

Uniess otherwise stated, any listing of factors o_r criteria in this document does notj
constitute an order of preference or importance

Uniess otherwise specified, you may bid on any or all items. Answer all questions related
to each item on which you wish to bid. For items you do not wish to bid on, you may
simply leave the questions for that item unanswered (blani<), orl you may enter ”No Bid"
or "'N/B”. items will be considered individually and awards will be made on each item
independently, except for ”re|ated” items for which ”compatibility" will be an element
+Hof_consi deration._i.nsu ch.cases,_sma.l.i.,gr.ou ps .of,itemscwi ii_bel coos.i.dere.l:l.,asa_l.mit._-____,___

Bidders who do not wish to respond to this Bi_d invitation, but who would like to remain
on our bidders list for this commodity category should sign and return the ”Notice of
invitation to Bid" form with "NO BiD” indicated on the face of the form. Fallure to
adhere to this procedure may result in removal of the bidder’s name from our bidders
|ist.

Small and lViinority Firms, Women's Business Enterprises and Labor Surp|u_s Area firms
are especially invited to submit bids.

The term ”contract," as used in this document means the comprehensive collection of:

a) this Gen'erai Terms and Conditions document, including any attachments and or
amendments thereto,

b) the item Specifications included in the Bid invitation and any subsequent
addenda thereto, -

cl the bidder’s signed Notice of invitation to Bid sheet, which must be completed,
signed by an authorized representative of the bidding entity, and returned with
the bidder’s response, along with

d) this ENTiRE Terms and Conditions document and all other forms and information
collection pages included with this Bid invitation,

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PSJA lSD T-STE|V| EARLY COLLEGE HlGH SCHOOL (OLD lVlEMOR|AL MlDDLE SCHOOL) -
PHASE 1 RENOVAT|ONS AND ADD\T|ONS CON|PET|T|VE SEALED BlD # 09-10-006
BlD OFEN|NG: MARCH 24, 2010 @ 4:00P.M.

e) the bidder’s entire response to the Bid invitation,
f) the bidder’s Notice of Award do_cum‘ent,
g) and any additional terms, conditions, or instructions contained in each individual

Purchase O_rder issued by the District.
Collectiveiy, these documents represent the entire agreement between the parties.
4. Contract Time Period:

The time period for purchases covered by any contract resulting from any award under '
this bid are to remain firm for one (1) year from the date of award or as stated in the
Notice of invitation to Bid. Uniess otherwise indicated in these General Terms and

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in the event this contract expires before another bid is awarded, upon the mutual
written agreement of the parties, this contract may be extended on a month to month
basis beyond the expiration of the contract time period.

The transfer, assignment, or subcontracting of contracts is prohibited, and the bidder
agrees not to sel|, assign, transfer', convey, or subcontract any portion of any contract
resulting from this bid invitation without the prior written consent of the District.

q

5. Adden_dum:

in the event that any changes to this Bid invitation occur subsequent to the mailing or
other delivery of the original Bid invitation, the changes or corrections to this Bid
invitation will be made by addendum, and any updated information contained in any
addendum will prevail over the information contained in the original Bid invitation or
any previous addendum. Each addendum wi_ii be mailed to ali entities who are known to
have received a copy of this Bid invitation, The Purchasing Department is the sole
authority for the issuance of any addendum related to this bid. Any communications
from any person or entity other than the Purchasing regarding any matters related to
this bid are invalid and will have no influence on this Bid lnvitation.

Each addendum must be acknowledged on the acknowledgment form provided with the
addendum. Any required acknowledgment form must be submitted along with the
submission ofany bid response.

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PHARR-SAN JUAN-ALAMO |.S.D.
PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL (OLD MEMOR|AL |VliDDLE SCHOOL) '-
PHASE 1 RENOVAT|ONS AND ADD|T|ON$ COMPET|T|VE SEALED BlD # 09-10-006
BlD OPEN|NG: MARCH 24, 2010 @ 4:00P.M.

6. Specifications:

Catalog nu'mbers, brand names, or manufacturer's product or reference numbers used
in the item specifications are intended to be descriptive, not `restr-ictive. These
references, as We|| as "approved brands" Iisted, are intended to identify and indicate the
type of product being sought, and establish the level of quality desired. if any conflict
exists in the item specifications between the product descriptions and any brand names
or model or reference numbers used, the product descriptions will override the brand
names or model number references.

in most cases, bids on brands of equivalent nature and quality will be considered,
provided they are regularly produced products from a reputable manufacturer.
i-iowever, in some cases, the District may find it advantageous to standardize equipment

' -~_-_-_s "~-a'nd',”'or~supp'|'ies~by~man'ufacturer'in_order'to_a'chleve"efficiencies"ln“p'rocurement,'~re'pa'ir,_
and operation, to match existing stock, or to satisfy other requirements in these cases,
preference will be given to the specific products identified as "approved brands,”
especially if all other evaluation factors are deemed to be equal. For this reason, where
specific brands or models are identified, it is preferable for the bidder to bid on the
exact item specified, in addition to an alternate brand or model where desired.

All bids must identify the manufacturer, brand, model, etc. of the article being offered.
For bids on ”or equal/equivalent" items other than any "approved brand" specified, the
bidder must supply a complete description and sufficient data for the District to
properly analyze the product being bid. Samp|es may be requested for items other than
"approved brands."

if the bidder falls to identify the manufacturer, brand, model, etc. for any item being bid
on, the District will assume the bidder is bidding on the exact brand and model
identified in the specificationl and if awarded, the vendor will be required to furnish the
exact brand names, mode|s, etc. as specified Substit_utlons will not be aliowed.

The apparent silence of the specifications as to any detail o`r the apparent omission from
any specification of a detailed description concerning any point shall be regarded as
meaning that only the best commercial practices shall preval|. Aii interpretations of the
specifications shall be made on the basis of this statement

if you discover or suspect an error in the item specifications in this Bid invitation, please
note it as part of your bid response. We will attempt to correct errors for future Bid
|nvitations.

 

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PHASE 1 RENOVAT|ONS AND ADD\T|ONS CO|V|PET|T|VE SEALED BlD # 09-10~006
BlD OPEN|NG: MARCH 24, 2010 @ 4:00P.N|.

7. Bid Evaluation and Award:

A|l bids received in response to this Bid invitation which are submitted in accordance
with the instructions and restrictions contained in section #1 of this Genera| Terms and
Conditions document entitled "Bid Preparation and Submission Procedures" will initially
be considered for award,' however, initial consideration of any bid will not constitute an
assessment of its meeting the necessary qualifications and any bid may be disqualified
at any time during the process of evaluating bids for failure to meet any other terms or
conditions contained anywhere else in the Bid invi_tation.

The District reserves the right to waive any or all bidding irregularities formalities, or
other technicalities, to be the sole and independent judge of quality and suitability of
any products offered, and may accept or reject any bid in its entirety, or may reject any
part of any bid without affecting the remainder of that bid, and may award the

 

 

individual items on tnis bid in any combination or m any way to best serve tn“e”lnt_erests`
ofthe District as it perceives those interests to be in its sole discretion.

it is not the policy of the District to purchase on the basis of low bid price alone. A|| bid
items are subject to evaluation and a'pprovai. lin evaluating the bids received and
determining to which bldder(s) (if any) to award a contract, the District may consider
any combination of the following criteria: (1) the purchase price; (2) the reputation of
the vendor and of the vendor' s goods and/or services; (3) the quality of the vendor's
goods and/or services; (4) the extent to which the goods and/or services meet the
needs of the District; (5) the vendor' s location and service and delivery capabilities; (6)
the vendor' s past performance with the District; (7) student preferences; (8) the
warranties offered and the bidder’s warranty service history; (9) the probability of
continuous availability of the goods and/or services offered; (10) the impact on the
ability of the District to comply with any applicable laws or rules, including those relating
to the utilization of historically underutilized businesses; (11) the total long-term cost to
the District to acquire the vendor's goods and/or services; and (12)_ any other relevant
factor that a public or private entity could consider in selecting a vendor. For this bid, in
addition see criteria and weights provided in Section 41.

lt is understood that the District, through its management may use all means at its
collective disposal to evaluate the bids received on these criteria, and the final decision
as to the best overall offer, both as to price and to suitability of the products and/or
services offered to fit the needs of the District, will rest solely With the Board of Trustees
of the District,

 

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PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL (OLD MENIOR|AL NllDDLE SCHOOL) -
PHASE 1 RENOVAT|ONS AND ADD|T|_ONS COMPET|T|VE SEALED BlD # 09-10-006
BlD OPENlNG: MARCH 24, 2010 @ 4:00P.Nl.

Uniess otherwise indicated in this bid invitation, “al| or nothing" bids are not acceptable
and will be reje.cted. The bidder must be willing to accept a partial award for any
combination of the items and/or services bid, and must be willing to share the business
with any other successful bidders '

The successful bidder(s) will be notified by "Notice(s) of Award" issued by the District,
The District reserves the right to require a performance bond as it is deemed necessary

B. Performance

8. Quantities:

O.uantities are the best estimate of anticipated needs available at the time of

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affected by numerous factors including, but not limited to, budgetary adjustments,

student participation, availability of government commodities or other subsidies,

changing market forces, and unintentional errors or omissions. Actual needs may be
` greater or less than the estimated quantities provided.

Uniess otherwise specified by the bidder, the District will be allowed to purchase up to
twenty-five percent (25%) more or up to twenty-five percent (25%) less than the
estimated quantities for any item and still obtain the item at the bid price.

Vendors will be notified of significant changes in the estimated quantities as they
become known throughout the contract period.

Successfu| bidders will be required to monitor consumption rates and bring any
exceptions to the attention of the District management as soon as possib|e. Except for
conditions discussed within section #23 of this document entitled ”Force i\/ia]eure',"
vendors are required to maintain sufficient inventories to cover the needs of District
with only minima|, occasionai_, and temporary inability to provide products on a timely
basis. Vendors at the close of the contract period agree not to hold the District liable for
any inaccuracies in estimated quantities o`r for any products on hand.

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PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL (OLD lVlEMORlAL MlDDLE SCHOOL) -
PHASE 1 RENOVAT|ON$ AND ADD\T|ONS COMPETIT|VE SEALED BlD # 09-10-006
B|D OPENiNG: MARCH 24, 2010 @ 4:00P.M.

9. Packagirig:

Uniess otherwise provided for in this Bid invitation, all products supplied under any
contract resulting from this Bid invitation must be packaged in containers that are new,
appropriately designed for the products involved, and sturdy enough to protect the
products involved in ioading, transit, unloading, and stora'ge. Any products supplied
under any contract resulting from this Bid invitation for which pailetizing is appropriate
must be delivered on standard 48" 4-way pallets in good, serviceable condition.

10. Pricin'g:
All "Line item" Bids must be for a specific price for the unit of measure specified for that

ltem. The bidder is responsible for clearly noting any differences in proposed packaging
and/or units of measure in the bid response, and the bidder shall understand that if the

 

 

item in question is awarded to the bidder, the quantity specified for that item will be
adjusted to achieve an approximately equivalent amount of the product.

in cases where another price is requested for comparison purposes (e.g., ”portlon price”
or ”price per ounce"), such price is for comparison purposes only. Purchases will be
made in increments of the unit of measure specified in the case of any discrepancy or
error in comparison price calculations, the price for the unit of measure specified will
prevaii. Exces'siv'e errors in comparison price calculations will be sufficient grounds for`
rejection of the entire bid,

"Discount from Cataiog” B_id invitations are percent of discount offered of list price for
items in the bidder’s published catalog that must be supplied with the bid response.

”Cost Plus" bids will not be accepted unless otherwise requested in this Bid invitation
Bid prices must be firm for acceptance for at least 90 days from bid opening date, unless
otherwise specified in this Bid invitation or in the bidder’s response.

if during the term of the contract, `a successful bidder’s net prices to any or ali of its
other customers in similar market circumstances for any of the same items awarded
under this Bid invitation are reduced below the contracted price, it is understood and
agreed that the benefits of such price reduction shall be extended to all the District.

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PHARR-SAN JUAN-ALAN|O |.S.D.
PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL (OLD lVlElVlO`RlAL iVl|DDLE SCHOOL) -
PHASE 1 RENOVATIONS AND ADD|T|ONS COMPET|T|VE SEALED BlD # 09-10~006
BlD OPEN|NG: MARCH 24, 2010 @ 4:00P.N|.

11. Sa|es Tax:

The District is a public jurisdiction that is exempt from sales, excise, and use taxes. Tax
Exemptlon Certificates will be provided upon individual requests from the vendor.
Uniess otherwise specified in this Bid invitation, sales tax will not be included in any bid
response or invoice submitted by any vendor unless the vendor has requested a Tax
Exemption Certificate from the District in writing and failed to receive the same within a
reasonable period of time. The Limited Sa|es, Excise, and Use Tax_ La_ws recognize the
inclusion of tax exemption information as part of_ a purchase order document to be as
binding as if it had been submitted separately, and by responding to this Bid invitation,
the bidder agrees to accept tax exemption information in such form.

12. Delivery and Transportation:

 

 

Uniess otherwise noted in these General Terms and Conditions or the Purchase Order,-
or unless prior approval has been obtained from the District, all deliveries shall be made
between the hours of 8:00 A.Ni. through 11:30 A.i\/i. and 1:30 P.iVl. through 3:`30 P.iVl.
(i\/|onday through Friday, holidays excepted).

Uniess otherwise noted in this Bid invitation or in the Purchase Order, the bidder must
deliver products awarded under this Bid invitation within ten (10) working days after
receipt of a Purchase Order. The vendor must immediately notify the primary contact
person at the location placing the order, by telephone and/or fax, if any delays occur.
The location placing the order will have the option to cancel the order if it is unable to
accept the delay, At the discretion of the location placing the order, items received after
the due date, for which the location has not been notified regarding the delay, may be
returned at the vendor's expense with no penalty to the District,

Repeated failure to meet delivery dates will constitute a breach of contract by the
vendor, and may result in the initiation of actions covered in section #22 of this General
Terms and Conditions document entitled "Remedies for Non-Performance of Contract,
and Contract Termi'nation" and the associated financial impacts attached thereto, as
well as jeopardize any future business from the District.

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PHARR-SAN JUAN-ALAN|O |.S.D.
PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL (OL_D MEMOR|AL MiDDLE SCHOOL) -
PHASE 1 RENOVAT|ONS AND ADD|T|ONS COMPETIT|VE SEALED BlD # 09-10-006
Bl'D OPEN|NG: MARCH 24, 2010 @ 4:00P.M.

All freight, delivery, and handling charges are the responsibility of the bidder, and all bid
prices must be quoted freight prepaid, F.O..B. destination, and shall include all freight,
delivery, and handling charges, including unloading and inside deliveries where
required. This_ bid package includes a summary listing of the location of the District their
quantities (if this is a line-item bid), and the number of delivery locations at the time this
Bid invitation was mailed.

Cartons must be marked as indicated on the Purchase Order, Each shipment must
include a packing list and waybill or delivery ticket.

if the vendor is delivering products out of more than one warehouse or distribution
center, all warehouses or distribution centers involved in the distribution plan i\/iU$T
carry or have timely access to all awarded items and MUST be able to respond to orders
in a timely manner. Uniess otherwise specified in this Bid invitation, product
substitutions are not allowed, and the involvement of multiple distribution centers will
not be construed as to alter the restrictions against product substitutions. in the event
the vendor uses multiple distribution centers, the District will have ONE CONTACT
PERSON for overall contract management relative to any contract resulting from any
award under this Bid invitation, and the District WlLL NOT be required to deal with
multiple vendor contacts for overall contract management

When the needs of the District require immediate response, the right to pick up
products awarded under this Bid invitation on an "over the counter" basis must be
available for the majority of the items awarded to a bidder. Under such circumstances,
the District's personnel may pick up products at the vendor's warehouse location at the
bid price with no minimum purchase required.

Except for items that have hidden defects or that do not meet specifications, title to all
products shall pass to the District upon receipt and acceptance at the time of delivery.

13. Quaiity:

Uniess otherwise indicated in the Bid invitation, all items bid must be new and in first
class condition and must conform to the highest standards of manufacturing practice,
including containers suitable for shipment and storage, Uniess otherwise requested, the
District will not accept "factory seconds" or otherwise inferior goods, and reserves the
right to return any such item(s) within thirty (30) days of receipt at vendor's expense.

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A|| electrical items must meet all applicable OSi-lA standards and regulations, and must
bear the appropriate listing from US, FiV|RC, NEl\/lA, or U L l.aboratories.

|\/iateria_ls `S-afety Data Sheets (N|SDS) on chemicals or any other products customarily
requiring |\/lSDS Sheets must be provided for each ordering loc'ation. MSDS Sheets must
be delivered along with the first shipment to each individual location Within the contract
period. Additional lVlSDS Sheets must be provided in a timely manner at no charge upon
request from any participating |ocation§

14. Produc`t inspection, Testing, and Defective ltems:

All products supplied under this contract should arrive in the best possible condition and
will be subject to inspe'ction, testing, and approval by the District, Tests may be
performed on any samples submitted as part of the bidding or evaluation process, or on

 

 

 

samples taken trom any regular shipment. in the event any product'tested fails to meetg
or exceed all requirements of the bid item specifications or the General Terms and
Conditions of the Bid invitation, the cost of the samples used and the cost of the testing
shall be borne by the supplier, and upon notification to the vendor, the defective
product(s`) will be picked up and replaced by the vendor within five (5) business days or
on the next service date, whichever is sooner, without charge for the replacem'ent(s) or
delivery. Defective products which are not picked up and replaced by the vendor as
outlined above may be disposed of by the District without expense to the District.
Repe_ated incidents of delivery of products that fall to:pass product inspection and/or
testing by a vendor will warrant cancellation of the contract in addition to the remedies
outlined above. Furthermore, future business from the District could be jeopardized

Products damaged in shipment will be considered as defective products and will be
subject to the same remedies outlined above.

The failure of any consumab`le products (food items) to meet specifications or
acceptable chemical or bacterial levels may result in cancellation of the contract in
addition to the remedies outlined a'bove. Furthermore, future business from the District
could be jeopardized All products in the District at the time of_ any such cancellation
must be picked up and credit issued to the District.

La`terit defects discovered after delivery and acceptance of any products may result in
revocation of the acceptance

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sip oPeNiNG: MARCH 24, 2010 @ 4:00P.M.

The Administration and staff of the District shall have access to any supplier's place of
business during normal business hours for the purpose of inspecting merchandise.

15. Sampies:

if samples are:needed for bid evaluation, they will be requested as part of the Bid
invitation or in a separate communication Uniess otherwise indicated in the request
for the samples, the samples must be received by the requestor within 72 hours from
the time of the request.

Sample`s must be furnished free of expense to the Distr_ict. Sampies must be labeled
with the District's Bid Name and Number, item Number, Product identification
Number(`s), and the name of the bidding entity. Do not include samples with the bid
response unless otherwise instructed in` the Bid invitation.

All samples will be retained by the District for a sufficient length of time for proper
evaluation. if not destroyed or consumed during examination or testing, samples will be
returned to the bidder at the bidder’s expense, but only upon written request submitted
with the samples at the time the samples were submitted, However, notwithstanding
the above, samples from the successful bidder may be retained permanently by the
District for the purpose of determining that the quality and workmanship of the
delivered items are comparable to the samples. The District shall incur no liability for
any samples that are damaged, destroyed or consumed during examination or testing.

Faiiure by any bidder to submit samples when requested will result in the items in
question not being considered for award to that bidder.

16. Warranties:

By submission of a bid, the bidder warrants that the bidder is an authorized dealer,
distributor, or manufacturer for the product(s) being offered, that all items being bid
conform to the specifications for which the items are being offered, and that all items
supplied under any contract related to this bid invitation will be free from all defects in
materla|, workmanship, and titie.

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PSJA lSD T-STEM EARLY COLLEGE HlGH SCHOOL (OLD MEMORIAL MIDDLE SCHOOL) -
PHASE 1 RENOVAT|ONS AND ADD\T|ONS COMPET|T|VE SEALED BlD # 09-10-006
BlD OPENlNG: MARCH 24, 2010 @ 4:_00P.N|.

A minimum of ninety (90) days product guarantee or the manufacturer's standard
commercial warranty, whichever is greater, shall apply to ali products purchased under
this Bid invitation. This warranty shall provide for replacement of defective
merchandise,_ parts, and iabor, and shall include pick-up of the defective merchandise
from the specified District's location and delivery of the replacement(s) to the same
iocation. The warranty shall be effective from the date of acceptance of the
merchandise.

17. Withdrawai or Modification of Bid:

Su bject to the restrictions discussed beiow, the District will consider a WR|TTEN request
from any bidder that the bidder be allowed to withdraw any bid submitted, but ONLY iN
lTS_ ENTiRETY, and ONLY UNT|LTHE DUE DATE AND Tli\/iE FOR BlD SUBNllSSlON as stated
in the Notice of invitation to Bid included with this Bid invitation, A representative of the
bid-el|ng~entity-w-he-is~aL-i-theri-z-ed-te--anter~in-to»eont-r'aets~on-behalf-of-t-he~biddi.ng~sntity
must manually sign any request for the withdrawal of any bid in ink,_ and the person
signing the request must indicate his/her title along with his/her signature No bid may
be withdrawn after the date and time that bids are due as' specified in the Notice of
invitation to Bid. Oniy bids that have been submitted consistent with the instructions
relating to packaging and labeling of the bid will be considered for wlthdrawal.

if there is any question in the mind of the Administration or staff of the District
regarding the identity of the bid or the identity of the bidder relating to any request for
the withdrawal o_f any bid, the District will refuse to allow the withdrawal of the bidl
Withdrawa| _of any bid allowed by the District will require the completion and signature
of a written receipt by the bidder’s representative satisfactory of the District before the
bid will be reieased. The decision of the Administration or staff of the District relating to
any matters concerning bid withdrawal will' be final.

if a bidder requests to withdraw a bid and the District allows the withdrawal of the bid,
the bidder may resubmit the bid, or submit a new bid, up until the due date and time for
bid submission as stated in the Notice of invitation to Bid included with this bid
invitation, provided any new submission meets ali the qualifications of bid submission
included in these General Terms and Conditions.

if a bidder resubmits a bid that was withdrawn and makes changes to any document in
the bid package, an authorized agent of the bidder must initial all alterations made to
any bid document.

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PHARR-SAN JUAN-ALANIO |.S.D.
PSJA ISD T-STEM EARLY COLLEGE HIGH SCHOOL (OLD N|EMOR|AL lV|lDDLE SCHOOL) -
PHASE 1 RENOVATIONS AND AD.D|T|ONS CON|PET|T|VE SEALED B|D # 09-10-006
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All bids in the possession of the District at the time bids are due shall be deemed finai,
conclusive, and irrevocabie, and no bid shall be subject to withdrawal, amendment, or
correction after the due date and time for bid submission as stated in the Notice of
invitation to Bid included with this bid invitation

18. Subs~titutions:

The District will not accept any substitutes after item(s) have been awarded as specified,
unless such substitutions are deemed to be in the best interest of the District, and
unless prior agreements have been reached and reduced to writing regarding such
substitutions. Substituting without the prior approval of the location placing the order
will constitute a breach of contract by the vendor which may result in the initiation of
actions covered in section #22 of this General Terms and Conditions document entitled

 

 

”Rer`n"e'cl'i'e"s fur Non-Performance or contract, and contract iermination" and the
associated financial impacts attached thereto, and may jeopardize any future business
from the District.

19. Deviations from item Specification or General Terms and Conditions:

Any and ali iimitations, excep,tions, qualifications, special conditions, or deviations from
these General Terms and Conditions or any of the item specifications, including the
offering of any alternate to the "approved brand and/or model" (where identified) must
be' clearly noted in detail by the bidder at the time of submission of the bid. The absence
of such limitations, exceptions, qualifications, special conditions, or deviations being
submitted in writing with the bidder’s response will hold the bidder accountable to the
District to perform in strict accordance with all these General Terms and Conditions and
all the item specifications as written, including any "approved brands and/or mode|s"
identified The bidder should be aware that the submission of any such limitations,
exceptions, qualifications, special conditions, or deviations with the bid response may
place the bidder at a competitive disadvantage or otherwise prevent the District from
considering the bid on the affected item(s).

Any deviation from any of the item specifications, including the delivery of any product
other than the specific brand and model of the product awarded, wiil be grounds for_
rejection of the product(s) when delivered,~ and will expose the vendor to the remedies
identified in section #22 of this General Terms and Conditions document entitled
”Remedies for Non-Performance of Contract, and Contract Termination" and may
jeopardize future business from the District.

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PHASE 1 RENOVAT|ONS AND ADD|T|ONS COMPET|T|VE SEALED BlD # 09-10-006
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20. Contracts and Purchase Orders:

A response to this Bid invitation is an offer to contract with the District based upon the
item Specifications and the General Terms and Conditions contained in the Bid
invitation, Bids do not become contracts unless and until they are both accepted by the
District through an Award Notice to the Bidder, and put into effect by the issuance of a
Purchase Order(s) signed by an authorized representative of the District. Purchase
orders will be mailed to the vendor. All deliveries and financial transactions will occur
directly between the vendor and the District

This contract shall collectively include (1) the General Terms and Conditions and the

item Specifications included in the Bid invitation and any subsequent addenda thereto,

(2) the bidder’s signed Notice of invitation to Bid sheet and any other data collection
“"__*_sh'e"e"ts"irwii;ide‘d'Wi't'h_trre*B‘id‘invitatioW(§‘)“the"bi'd'd`ei“'s_entire”re'sp'onse_t'o'th'e_Bid-_#"'_" "”"

invitation, (4) the bidder’s Notice of Award document, l5) and any additional terms,

conditions, or instructions contained in each individual Purchase Order. The contract

shall be interpreted by and governed under the laws of the State of Texas.

21. lnvoices, Packing Lists, and Payment:

Packing Lists or other suitable shipping documents must accompany each shipment and
must identify (a) the name and address of the vendor, (b) the name and address or
delivery location of_ the receiving entity, (c) the Purchase Order Number, and (d) detailed
descriptive information identifying the item(s) dellvered, including quantity, item
number, product code, item description, number o`f containers, etc.

All invoices must reflect (a) the name and address of the vendor, (b) the name and
address or delivery location of the receiving entity, (c) the appropriate Purchase Order
Number, and (d_) detailed descriptive information identifying the item(s) dellvered,
including quantity, item number, product code, item description-, etc., and must include
a properly signed copy of the delivery receipt. invoices must be mailed directly to the
ordering location of the District.

The locations of the District will not be held responsible for any products delivered or
invoiced without a valid current Purchase Order Number.

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PHARR-SAN JUAN-ALA|V|O |.S.D.
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PHASE 1 RENOVAT|ONS AND ADDiT|ONS COMPET|T|VE SEALED BlD # 09-10-006
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The District does attempt to remind its locations about the importance of following
prompt payment policies when dealing with its vendors. Notwithstanding the above, the
payment terms stated on each individual Purchase Order will be the controlling factor in
the determination of payment terms. Each invoice should include the vendor's normal
payment terms in the event that any Purchase Order fails to address the subject.

in any case, payment Wi|l be made only after satisfactory delivery and acceptance of
merchandise in good order, including the necessary documentation indicated above,
and only after receipt of a correct invoice from the vendor, including the necessary
information indicated above,

At the option of the District, invoices with incorrect prices or other errors or
inconsistencies will not be paid until corrected, whether by credit memo(s) or issuance

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upon receipt and payment may be made based upon their corrections

22. Rem`edies for Non-Performance of Contract, and Te,rmination of Contract:

if the vendor cannot comply with the terms and conditions in fulfilling its contract as
anticipated., the vendor must supply the same products or services contracted from
other sources at the contract price-. The vendor's delay iri the above will constitute the
vendor's material breach of contract, whereupon the District may terminate the
vendor's contract for cause as provided by the remainder of this section.

Uniess this contract is extended by mutual agreement of the parties on a month to
month basis beyond the expiration of the contract time period as stated in the Notice of
invitation to Bid, this contract shall terminate upon the expiration of the contract term
as stated in the Notice of invitation to Bid.

if any delay or failure of performance is caused by a Force i\/iajeure event as described in
section #-23 of this General Terms and Conditions document entitled “Force' i\/iajeure,"
the District may, in its sole discretion, terminate this contract in whole or part, provided
such termination follows the remaining requirements of this section.

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PHASE 1 RENOVATIONS AND ADD|TIONS CON|PET|T|VE SEALED BlD # 09-10-006
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Except as otherwise provided for within the General Terms and Conditions of this
document, this contract may be terminated in whole or in part by either party in the
event of substantial failure by the other party to fulfill its obligations under this contract
through no fault of the terminating party; provided that no such termination may be
implemented unless and until the other party is given (1) at least ten (10) days written
notice (delive'red by certified mai_l, return receipt requested) of intent to terminate, and
(2) an opportunity for consultation with the terminating party, followed by a reasonable
opportunity, of not more than ten (10) working days, to rectify the defects in products
or performance, prior to termination.

Va|id causes for termination of this contract will include, but are not limited to:

a) the vendor's failure to adhere to any of the provisions of the General Terms and
_Co_nditions of this lBid invitation,

b) the vendor delivering any product(s) that fails to meet the item Specifications
included in this Bid invitation relating to the awarded product(s)

c) the vendor delivering any substituti'on(s) of product(s) different than those
originally bid and awarded without the prior written approval of the District
placing the order,

d) the vendor's failure to meet the required delivery schedules as identified in the
contract documents, or

e) the vendor's violation of any other provision contained within these General
Terms and Conditions or any attachment thereto which provides for contract
termination as a remedy.

Notwithstanding anything contained in this section, in the event of the vendor's breach of
any provision in this contract, the District reserves the right to enforce the performance of
this contract in any manner prescribed by law or deemed to be in its best interest
inciuding, but not limited to, the purchase of other products of like type and quality from
other sources in the open market. in the event the District elects to purchase other
products from other sources, the District will invoice the vendor for any increased costs to
the District, and the vendor agrees, by submission of a bid response, to promptly pay any
such charges involced.

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in the event the District terminates this contract, in whole or in part, for any reason
provided for within the contract, the District reserves the right to award the canceled
contract, or any portion thereof, to the next lowest or best bidder as it deems such award
to be in the best interest of its members

Any contract termination resulting from any cause other than a Force i\/iajeure event will
be deemed valid reason for not considering any future bids from the defaulting vendor. in
the performance of this contract, time is of the essence and these General Terms and
Conditions are of the essence.

23. Force |Via]eure:

The term Force |Viajeure shall include, but is not limited to, governmental restraints or
decrees-, provided‘t-hey affect all companies in the vendor's industry equally and are not
actions taken solely against the vendor-; acts of God (excep't natural phenomena, such as
rain, wind or flood, which are normally expected in the locale in which performance is to
take place); work stoppages due to labor disputes or strikes; fires; explosions; e'pidemics;
riots; war; rebellion; or sabotage.

The parties to this contract will be required to use clue caution and preventive measures to
protect against the effects of Force _i\/iajeure, and the burden of proving that Force |V|ajeure
has occurred shall rest on the party seeking relief under this section. The party seeking
relief due to Force lViajeure will be required to promptly notify the other party in writing,
citing the details of the Force Majeure event, and Will be required to use due diligence to
overcome obstacles to performance created by the Force iviajeure event, and shall resume
performance immediately after the obstacles have been removed, provided the contract
has not been terminated in the interim.

De|ay or failure of performance, by either party to this contract, caused solely by a Force
l\/lajeure event shall be excused for the period of delay caused solely by the Force i\/lajeure
event, provided the affected party has promptly notified the other party in writing. .Neither
party shall have any claim for damages against the other resulting from delays caused solely
by Force Niajeure.

Neither the District nor its location will be responsible for any costs incurred by the vendor
because of the Force |V|ajeure event unless the District has requested, in writin'g, that the
vendor incur such costs in connection with any delay or work stoppage caused by the Force
i\/iajeure event, and the District has agreed in such writing to incur such additional costs.

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Notwithstanding any other provision of this section, in the event the vendor's performance -
of its obligations under this contract is delayed or stopped by a Force i\/iajeure event, the
District shall have the option to terminate this contract in accordance with section #22 of
this General Terms and Conditions document entitled "Remedies for Non-Performance of
Contract, and Contract Termination." Furthermore, this section shall not be interpreted as
to limit or otherwise modify any of the District's rights as provided elsewhere in this
contractl

24. Non-Coilusion Certification:

By signing this bid, the bidder certifies that, to the best of his/her knowledge:

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neither the bidder nor any business entity represented by the bidder has received
compensation for participation in the preparation of the item specifications or the
G.ene.ralTerm's and Conditions related to this Bid invitation, ._ _i . ,. . ..
this bid or proposal has been arrived at independently and is submitted without
collusion with any other bidder, with any competitor or potential competitor, or
with any other person or entity to obtain any information or gain any special
treatment or favoritism that would in any way limit competition or give any bidder
an unfair advantage over any other bidder with respect to this bid,
t_he bidder has not accepted, offered, conferred, or agreed to conf-er, and will not in
the future accept, offer, confer, or agree to confer, any benefit or anything of value
to any person or entity related to the District or any of its locations in connection
With any information or submission related 'to this bid, any recommendati'on,
decision, vote, or award related to this bid, or the exercise of any influence or
discretion concerning the sa|e,' delivery, or performance of any product or service
related to this bid,
neither the bidder, nor any business entity represented by the bidder, nor anyone
acting for such business entity, has violated the Federai Anti`trust Laws or the
antitrust laws of this State with regard to this bid, and this bid or proposal has not
been knowingly disciosed, and will not be knowingly disclosed to any other bidder,
competitor, or potential competitor prior to the opening of bids or proposals for
this project,
no attempt has been or will be made to induce any other person or entity to submit
or to not submit a bid or proposal.

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The person signing this bid or proposal certifies that he/she has fully informed himself/herself
regarding the accuracy of the statements contained in this certification

25. Assignment - Delegation:

No responsibility or obligation created by this contract shall be assigned or delegated by the
vendor without written permission from the District. Any attempted assignment or delegation
by the vendor shall be wholly void and totally ineffective for all purposes unless made in
conformity with this paragraph.

26. Certificatlons Regardlng Leg_al, Ethic`al, and Other Matters:
By signing this bid, the bidder certifies that:

a) Bidder is to refrain from contacting a member of the Board of Trustees from the date of

bid advertisement until after contracts are awarded by the Board. Board i\/le_mbers are

; ii_.Oi tQ.bs CQni.'a,Ct.e_d, by agents .or others on behalf of ,any bidder or s_ubco.ntractor.4
District administration is charged with evaluating bids, contacting references, and
gathering `an'y other relevant information in order to provide a recommendation to the
Board of Trustees. Any attempt to circumvent the district's evaluation process as put
forth in the bid documents may result in disqualification of a bidder.

b) he/she understands that the district may by written notice to the Seller, cancel this
contract without liability to Seller if it is determined by the District that gratuities, in the
form of entertainment, gifts, or otherwise, were offered or given by the Seller, or any
agent, or representative of the Seller, to any officer or employee of the District with a
view toward securing a contract or securing favorable treatment with determinations
with respect to the performance of such contract in the even this contract is canceled
by the District pursuant to this provision) the District shall be entitle,d, in addition to any
other rights and remedies, to recover or withhold the amount of the cost incurred by
Seller in providing such gratuities.

c) he/she has read and understands all the General Terms and Conditions in this document,
and agrees tjo be bound by them, and is authorized to submit bids on behalf of bidder,

d) bidder has noted any and all relationships that might be conflicts of interest and included
such information with his/her bid response,

e) the bid submitted conforms with all item specifications, these General Terms and
Conditions‘, and any other instruction's, requirements, or schedules outlined or included
i`n this Bid invitation,

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RENOVATIONS AND ADD\T|ONS CON|PET|T|VE SEALED BlD # 09-10-006
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if this bid is accepted, in whole or in part, the bidding entity will furnish any item(s)
awarded to them under this Bid invitation to the District at the price bid, and in
accordance with the item specifications and the terms and conditions contained in this
Bid invitation,

the bidding entity has, or has the ability to obtain, such financial and other resources,
including inventories, as may be required to fulfill all the responsibilities associated with
this bid,

h) the bidding entity has a high degree of integrity and business ethics, and a satisfactory

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record of performances, and has not been notified by any locai, state, or federal agency
with competent jurisdiction that its standing in any matters whatsoever would preclude
it from participating in this bid, it would in no other way whatsoever be disqualified to
bid or receive any award or contract related to this bid, and the bidder will comply with
any reasonable request from the District to supply any information sufficient to
substantiate the bidding entity’s ability to meet these minimum standards,
concerning paragraph ”(h)” above, the bidding entity has identified and disclosed in this

"writ`te'n `b`ld" response any and all known or suspected matters that"'woui"d‘ disqualify'it' '

from participating in this bid o_r receiving any award or contract related to this bid,
recognizing that the bidder’s failure to identify and disclose any such matters constitutes
its affirmation that no such matters exist, and that failure to disclose in this bid response
any such matters which do exist is a material breach of contract which will void the
submitted bid or any resulting contracts, and subject the bidder to removal from all bid
|ists, and possible criminal prosecution,
the bidding entity has obtained, and will continue to maintain during the entire term of
this contract, all permits, appr'ovals, or |icenses, necessary for lawful performance of its
obligations under this contract, ' `
the price-s, prompt payment discount terms, delivery terms, distribution allowances, and
the quality and!or performance of the products offered in the bid response are and will
'remain the same or better than those offered to the vendor's most favored customer
under equivalent circumstances, _
the bidding entity will comply with all laws relating to intellectual property, will not
infringe on any third party's intellectual property rights, and will indemnify, defend, and
hold the District and its locations harmless against any claims for infringement of any
copyrights, patents, or other infringements related to its activities under this contract,
the bid submitted complies with ali federal, state,_ and local laws concerning these types
of products or services, and the bidding entity will continue to comply with any
applicable federal, state, and local laws related to the bidding entity’s activities in
connection with this contract,

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RENOVAT|ONS AND ADD\T|ONS COMPET|T|VE SEALED BlD # 09-10-006
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nl the bidding entity will maintain, at the bidding entity’s expense, any insurance necessary
to protect the District and its locations from all claims for bodily injury, death, or
property damage that might arise from the performance by the bidding entity or the
bidding entity’s employees or its agents of any service required of the bidding entity
under this cjontract; however, the existence of such insurance will not relieve the
bidding entity of full responsibility and liability for damages, injury, death, or loss as
described or as otherwise provided for by law, ' - ,

o) neither the District nor any of its locations shall be liable to the bidder for any damages
including,'but not limited to, loss of profits or loss of business, or any special,
consequential, exemplary,` or incidental damages) in the event that the District declares
the bidder in default,

p) he/she understands that signing the bid with any false statement is a material breach of
contract which will void the submitted bid or any resulting contracts, and subject the
bidder to removal from all bid lists, and possible criminal prosecution,

lUniess otherwise provided for in---this Bid |nv_itation; an-y- written notice or other communication

required by this bid or by law will be conclusively deemed to have been given and received on
the second business day after such written notice has been deposited in the U§ S. Mail, properly
addressed, and with sufficient postage affixed thereto, provided such notice shall not prevent
the giving of actual notice in any other manner.

27. Equal Empioyment Opportunity (EEO) Disclosures:

By submission of a bid, the bidder agrees that.in the performance of any contract resulting from
any award under this bid, the bidding entity will comply with all applicable equal employment
opportunity laws and regulationsl inciuding, but not limited to an agreement not to deny any
benefit to, exclude from any opportunity, or discriminate in any way against, any applicant,
employee, or any other person because'of age, color, creed, gender, handicapping condition,
marital status, national origin, political affiliation or belief, race, religion, or veteran status.

Bidder further agrees that the bidding entity is and, during the period of any contract resulting
from any award under this Bid invitation will remain', in compliance with Executive Order 11246,
entitled "Equal Empioyment Opportunity" as amended by Executiv'e Order 11375, and as
supplemented in Department of Labor Regulations (41CFR Part 60).

_ The occurrence of any prohibited discrimination will constitute vendor's breach of contract due
to a substantial failure by the vendor to fulfill its obligationsl whereupon `the District may
terminate the vendor's contract for cause as provided by section #22 of this General Terms and
Conditions document entitled "Remedies for Non»Performance of Contract, and Contract
Termination."

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